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                        Nos. 22-1350, -1351

                              IN THE
United States Court of Appeals for the Federal Circuit
                            APPLE INC.,
                                                                 Appellant,
                                 v.
                       COREPHOTONICS, LTD.,
                                                                     Appellee.


 On Appeal from the United States Patent and Trademark Office,
                 Patent Trial and Appeal Board
            Nos. IPR2020-00905 and IPR2020-00906

                     OPENING BRIEF OF
                   APPELLANT APPLE INC.

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                   CLAIM LANGUAGE AT ISSUE

U.S. Patent No. 10,225,479

1. A dual-aperture digital camera for imaging an object or scene,
comprising:

     a) a Wide camera comprising a Wide lens and a Wide image
     sensor, the Wide camera having a respective field of view
     FOVW and being operative to provide a Wide image of the
     object or scene;

     b) a Tele camera comprising a Tele lens and a Tele image
     sensor, the Tele camera having a respective field of view
     FOVT narrower than FOVW and being operative to provide a
     Tele image of the object or scene, wherein the Tele lens has a
     respective effective focal length EFLT and total track length
     TTLT fulfilling the condition EFLT/TTLT>1;

     c) a first autofocus (AF) mechanism coupled mechanically to,
     and used to perform an AF action on the Wide lens;

     d) a second AF mechanism coupled mechanically to, and
     used to perform an AF action on the Tele lens; and

     e) a camera controller operatively coupled to the first and
     second AF mechanisms and to the Wide and Tele image
     sensors and configured to control the AF mechanisms and to
     process the Wide and Tele images to create a fused image,
     wherein areas in the Tele image that are not focused are not
     combined with the Wide image to create the fused image and
     wherein the camera controller is further operative to output
     the fused image with a point of view (POV) of the Wide
     camera by mapping Tele image pixels to matching pixels
     within the Wide image.




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19. A dual-aperture digital camera for imaging an object or scene,
comprising:

     a) a Wide camera comprising a Wide lens and a Wide image
     sensor, the Wide camera having a respective field of view
     FOVW and being operative to provide a Wide image of the
     object or scene;

     b) a Tele camera comprising a Tele lens and a Tele image
     sensor, the Tele camera having a respective field of view
     FOVT narrower than FOVW and being operative to provide a
     Tele image of the object or scene, wherein the Tele lens has a
     respective effective focal length EFLT and total track length
     TTLT fulfilling the condition EFLT/TTLT>1;

     c) a first autofocus (AF) mechanism coupled mechanically to,
     and used to perform an AF action on the Wide lens;

     d) a second AF mechanism coupled mechanically to, and
     used to perform an AF action on the Tele lens, wherein the
     Wide and Tele lenses have different F numbers F#Wide and
     F#Tele, wherein the Wide and Tele image sensors have pixels
     with respective pixel sizes Pixel sizeWide and Pixel sizeTele
     wherein Pixel sizeWide is not equal to Pixel sizeTele, and
     wherein the Tele camera has a Tele camera depth of field
     (DOFT) shallower than a DOF of the Wide camera (DOFW);
     and

     e) a camera controller operatively coupled to the first and
     second AF mechanisms and to the Wide and Tele image
     sensors and configured to control the AF mechanisms, to
     process the Wide and Tele images to find translations
     between matching points in the images to calculate depth
     information and to create a fused image suited for portrait
     photos, the fused image having a DOF shallower than DOFT
     and having a blurred background.




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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                     July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 22-1350, -1351
   Short Case Caption Apple Inc. v. Corephotonics, Ltd.
   Filing Party/Entity Apple Inc.



 Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
 additional pages as needed and check the relevant box. Counsel must
 immediately file an amended Certificate of Interest if information changes. Fed.
 Cir. R. 47.4(b).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        06/24/2022
  Date: _________________                   Signature:    /s/ Elizabeth R. Moulton

                                            Name:         Elizabeth R. Moulton




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FORM 9. Certificate of Interest                                                      Form 9 (p. 2)
                                                                                        July 2020


     1. Represented                   2. Real Party in            3. Parent Corporations
         Entities.                        Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).         Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of        Provide the full names of       Provide the full names of
 all entities represented         all real parties in interest    all parent corporations
 by undersigned counsel in        for the entities. Do not        for the entities and all
 this case.                       list the real parties if        publicly held companies
                                  they are the same as the        that own 10% or more
                                  entities.                       stock in the entities.

                                  ‫܆‬
                                  ✔ None/Not Applicable           ‫܆‬
                                                                  ✔ None/Not Applicable




           Apple Inc.




                                     Additional pages attached


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FORM 9. Certificate of Interest                                                    Form 9 (p. 3)
                                                                                      July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
          None/Not Applicable                        Additional pages attached

   Haynes and Boone, LLP                 Michael S. Parsons         Andrew S. Ehmke

        Jordan Maucotel                      Hong Shi               David W. O’Brien

          Bethany Love                   Stephanie Sivinski


 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court’s decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).
          None/Not Applicable                        Additional pages attached

  Corephotonics, Ltd. v. Apple Inc.
 No. 5:19-cv-04809-EJD (N.D. Cal.)




 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
  ✔       None/Not Applicable                        Additional pages attached




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                 STATEMENT OF RELATED CASES

     No appeal in or from the same proceeding was previously before

this Court or any other appellate court.

     Counsel is aware that the following case may directly affect or be

directly affected by this Court’s decision in the pending appeal:

Corephotonics, Ltd. v. Apple Inc., No. 3:19-cv-04809-JD (N.D. Cal.).

     Pursuant to this Court’s orders, the following cases have been

designated as companions to this appeal:

           Apple Inc. v. Corephotonics, Ltd., No. 22-1324

           Corephotonics, Ltd. v. Apple Inc., Nos. 22-1340, 22-1341

           Corephotonics, Ltd. v. Apple Inc., Nos. 22-1455, 22-1456

     The following case is related to this appeal:

           Apple Inc. v. Corephotonics, Ltd., Nos. 22-1325, 22-1327,
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                           INTRODUCTION

     Today’s iPhones have multiple camera lenses. Different lenses

(for example, a wide-angle lens and a telephoto lens) capture digital

images with different characteristics, and software on the iPhone

stitches the images together. By combining the different images, you

can get a photo in which both close up and far away objects appear in

sharp focus. You can also achieve special effects, like “portrait mode,”

where the subject of the image is in focus and the rest of the image

appears blurry. Using multiple lenses within the same camera to

create these different effects has long been known in the prior art.

     This appeal covers two separate inter partes review proceedings of

different sets of claims of Corephotonics’s U.S. Patent No. 10,225,479.

Both sets of claims require a digital camera with a wide-angle lens and

a telephoto lens, and a camera controller with programming that

combines the images from each lens to create a combined image with

certain characteristics. Apple’s inter partes review challenges showed

that both the physical lenses and the image processing steps claimed in

the patent were well known in the art, and that a person of ordinary




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skill in the art would have combined the prior art to make the claimed

invention.

     The Patent Trial and Appeal Board made separate errors in each

proceeding. In the first, the Board made a quintessential claim

construction error and limited the claims to one particular embodiment,

despite no limiting language in the claim or the specification.

Regardless, Corephotonics essentially conceded that the key prior art

teaches the limitation in question, even under Corephotonics’s cramped

construction. In the second, the Board latched on to an inconsequential

data-entry error by Apple’s expert that even Corephotonics never

suggested was material to the patentability analysis. The result is that

neither Final Written Decision is supported by substantial evidence,

and both should be reversed or vacated and remanded for further

proceedings.

                  JURISDICTIONAL STATEMENT

     Apple filed two petitions for inter partes review of the ’479 patent.

See Appx79-157; Appx723-804; 35 U.S.C. §§ 311, 312; 37 C.F.R.

§ 42.104. The Board instituted proceedings. Appx196; Appx839. On

November 8, 2021, the Board issued a Final Written Decision holding



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claims 1-16, 18, 23-38, and 40 not unpatentable, Appx1-24 (-905 IPR),

and a Final Written Decision holding claims 19-22 not unpatentable,

Appx25-45 (-906 IPR). On January 10, 2022, Apple timely filed its

notices of appeal. See Appx693-698; Appx1326-1331; 35 U.S.C. § 142;

37 C.F.R. § 90.3(a)(1); Fed. Cir. R. 15(a)(1). This Court has jurisdiction

pursuant to 28 U.S.C. § 1295(a)(4)(A).

                      STATEMENT OF THE ISSUES

     1.    Did the Board err in holding claims 1-16, 18, 23-38, and 40

not unpatentable as obvious under Parulski after applying an improper

claim construction?

     2.    Did the Board err in holding claims 19-22 not unpatentable

as obvious when it found no motivation to combine Parulski and Ogata

on the basis of a data-entry error in an expert’s declaration when no

party argued that error was material to the obviousness inquiry?

                      STATEMENT OF THE CASE

Consumers desire small but high-performance digital cameras.

     Consumers today demand small, handheld cameras that generate

high quality images. The demand for these convenient and high-

performance cameras is not new; over the years people have sought

different ways to deliver high-end camera performance with

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increasingly small designs. Much of that work has focused on the lens

(or lenses) in a camera, to exploit certain traits of the images that

different lenses capture.

     A camera lens assembly (which is usually made up of multiple

lenses stacked together) has unique characteristics that affect the

image produced by the lens. Two particular image enhancements are

relevant to this appeal. The first is the zoom feature: the ability to

provide different magnifications of the same scene. Appx64 (1:44-49).

The second is an aesthetic visual effect called “bokeh,” where the

background of a photograph is out of focus, and thus blurrier than the

photograph’s foreground. Appx2002. This blurred-background style of

photograph is common in portraits, to make the subject of the portrait

stand out. Appx71 (15:30-32).

     A foundational lens characteristic critical to both zoom and bokeh

is focal length. Although not a measurement of the actual length of a

lens, focal length dictates the angle of what is within the view of the

lens. See, e.g., Appx5386; Appx4269-4270. That angle, in turn, affects

the magnification of the objects within the view of the lens. Appx64

(1:39-43). As focal length increases, the angle of view narrows and



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magnification increases. E.g., Appx64 (2:17-32). In other words, fewer

objects are within the view of the lens, but those objects appear larger—

think of binoculars.

     The “field of view,” or FOV, is the name for the lens angle dictated

by the lens’s focal length; it is a measurement expressed in degrees.

Appx2718. The term field of view is also used in a less technical sense

to refer to the scene visible through the lens of the camera. Appx5385;

Appx3912.

     Below is an example of FOV:




Appx57 (Fig. 2).

     The image on the left is the field of view from a “wide-angle” lens,

also simply called a wide lens. A wide lens has a relatively low focal

length, which means it has a wide angle of view—thus its name—and a

lower magnification, or zoom. Appx64 (2:23-25). In other words, it



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depicts a large scene from far away, and is typically used for things like

landscape photography.

     The image on the right is the field of view from a “telephoto” or

“tele” lens. A tele lens has a higher focal length, which means it has a

narrower field of view but the image it captures is shown at a higher

level of magnification. Appx64 (2:23-25). So in the image above, you

see that that the tele lens is capturing a magnified version of the center

of the scene captured by the wide lens. Based on these principles,

zooming was traditionally accomplished by physically altering the focal

length of the lens to increase or decrease the magnification of the image

as the lens moved. Appx64 (1:44-51).

     Focal length also affects the resulting image’s “depth of field”—the

portion of a photograph that appears sharp or in focus. Appx1987 (7:56-

59). If most or all of the photograph is out of focus or blurry, the depth

of field is called “shallow.” Appx65 (4:18-38). If most or all of the

photograph is in focus, the depth of field is called “deep.” The greater

the focal length, the shallower the depth of field—meaning an image

captured by a tele lens has a shallower depth of field than an image

captured by a wide lens. Appx65 (4:23-30). As a result, bokeh is



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traditionally achieved using a lens with a larger focal length and thus a

shallow depth of field. Appx65 (4:18-20). Because a tele lens has a

longer focal length than a wide lens, see supra at 5-6, an image captured

with a tele lens will have a shallower depth of field and thus more

aesthetic blurring or bokeh than an image captured with a wide lens.

Appx65 (4:25-27).

     As consumers demanded smaller cameras, figuring out how to

provide high-quality zoom and bokeh effects with short, fixed focal

length lenses was initially a challenge. Because bokeh is tied to focal

length, it has traditionally been difficult to replicate in digital cameras

with short focal lengths. Appx65 (4:20-23). As for zooming, there is an

alternative to the mechanical zoom process called “digital zooming”:

Rather than adjusting the focal length of a lens, a digital camera

processor “crops the image and interpolates between the pixels.”

Appx64 (1:53-58). Although the resulting image is magnified, it has a

lower resolution. Appx64 (1:53-58).

     A space-efficient method for improving the quality of a standalone

digital or cellphone camera’s output image is use of a dual-aperture (i.e.,

two-opening) camera unit with two camera lenses. If each sub-camera



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uses a lens with a different focal length, each will capture an image

with a different field of view and depth of field: The lens with the

smaller focal length (e.g., a wide lens) will capture a broader scene with

more objects in sharp focus, while the lens with the larger focal length

(e.g., a tele lens) will be zoomed in for a closer look at a subset of the

scene, with objects in the background out of focus. See supra at 4-6.

      The field of view and depth of field are not the only differences

between the two images, however. Every image captured by a given

lens has a particular “point of view.” Appx66 (5:10-33). There are two

aspects to an image’s point of view. The first is “position,” and refers to

where an object appears within the frame. Appx66 (5:10-13). Imagine

looking through a camera at a tree in a large field. By physically

moving the camera, you can make the tree appear in the center of the

frame, in the upper-left corner, on the center-right, etc. You can also

change where the tree appears in the frame by zooming in or out:

Zoomed out, the tree might be a tiny speck in the middle, but zoomed

in, the tree might take up the whole frame. Thus, position point of view

can be affected by either the placement of the camera in space or the

focal length (and thus field of view) of the lens (or both). Appx1865.



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     The second type of point of view is “perspective,” also called

“shape,” and refers to the contour of an object as it appears in the

image. Appx66 (5:10-13). Imagine the tree again: Changing the angle,

or perspective, from which you are viewing the tree (for example,

walking to the other side) will alter which part of the tree you see, and

thus its shape. Unlike position POV, however, perspective POV is

unaffected by zooming in or out—the shape of the object remains the

same no matter how magnified the image. Appx3912.

     To illustrate POV, consider the image below.




Appx2400 (red arrows added).

     In these images, the “position” is slightly different in that you can

see more of the birdhouse below the perch in the image on the right.



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And the “perspective” or “shape” is different, in that the chimney on the

birdhouse overlaps only slightly with the blue painting in the image on

the left, but overlaps much more in the image on the right. That is

because the two images were taken with the camera at slightly different

angles. 1 Similarly, the images captured by each of the cameras in a

dual-aperture camera will have a different perspective and position.

The prior art discloses a dual-aperture camera designed to
deliver high-end performance in minimal space.

     Digital image-processing techniques can combine the two images

obtained from a dual-aperture camera, despite their differences, in

various ways for an enhanced output image. U.S. Patent No. 7,859,588

to Parulski teaches such image processing techniques for a dual-lens

camera. Parulski discloses “a digital camera that uses multiple lenses

and image sensors to provide an improved imaging capability.”

Appx1984 (1:8-10). The camera may operate in both still and video




1 As another example, if you “hold your finger vertically in front of your
eyes and close each eye alternately,” “the finger jumps left and right
relative to the background of the scene.” Appx2401. In addition to
being in a different position relative to the background, your finger is
being viewed from a different perspective, and thus has a slightly
different shape. The closer an object is to the camera (or the eyes), the
larger and more noticeable point-of-view differences are. Appx2400.

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modes to produce both “still images and motion video images.”

Appx1989 (12:36-41). Parulski teaches both a standalone digital

camera and also a cellphone camera:


                                                                Wide
                                             Tele




       First
       zoom
       lens
                          Second
                          zoom
                          lens




See Appx1956, Appx1969 (annotation added).

      The standalone digital camera embodiment depicted in Figure 2A

contains two adjustable-focus lenses, but Parulski states that “one (or

both) of the zoom lenses 3 and 4 could be replaced with a fixed focal

length lens.” Appx1990 (13:4-6). With respect to the cellphone camera

embodiment depicted in Figure 15B, lens 612 is “preferably a fixed focal

length wide angle lens” and lens 616 is “preferably a fixed focal length

telephoto lens.” Appx1995 (23:36-39). In both embodiments, the two


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lenses capture “substantially the same scene, albeit typically with

different fields of view.” Appx1990 (13:6-9); see also Appx1995 (23:40-

43). Both embodiments also have image sensors situated behind the

lenses. Appx1955 (Fig. 1).

     Parulski teaches “utiliz[ing] one of the images from [the] dual-lens

camera as a secondary image that can be used to modify the other,

primary image and thereby generate an enhanced primary image.”

Appx1987 (7:32-35).

     Two enhancements taught by Parulski are at issue here. The first

results in a sharper image, where more of the scene is in clearer focus.

See Appx1994 (22:37-42), Appx1997 (28:52-53) (data from the

“secondary” Tele camera image may be used to “sharpen portions of the

primary [Wide] image that are positioned near the [Tele] focus

distance,” resulting in a “combined … image with a broadened depth of

field”). The second results in a blurrier image, where more of the scene

is out-of-focus to create a bokeh effect emphasizing the subject of the

photograph, which remains in focus. See Appx1994 (21:27-44).

     Combining the images from each of the two sub-cameras requires

more than a simple cut-and-paste. That is because while the two sub-



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cameras may be oriented to look at the same portion of a scene, there

are two key differences between them. First, the Wide and Tele lenses

have different focal lengths, and thus different (but overlapping) fields

of view. Appx1990 (13:6-9), Appx1995 (23:40-43); see also supra at 5-6.

Second, the Wide and Tele lenses are spaced slightly apart. As a result

of these two differences, the images captured by each of the sub-

cameras will have different points of view. See supra at 8-10. Thus,

before the images can be combined, they “must be modified to make

[them] comparable” to one another. Appx1993 (19:63-20:1).

     Parulski teaches an image-processing technique that enables use

of data from one image to enhance the other. This involves matching

pixels from the Tele sub-camera image to a matching set of pixels from

the Wide sub-camera image to produce a “range map.” Appx1993

(19:49-20:15). The range map enables “object identification within the

image,” such that the “shape of the object can be defined.” Appx1993

(20:51-59). And the resulting “range data” is used to “sharpen” an

object in the foreground of the Wide image that would otherwise be out-

of-focus, or conversely, “blur[] portions of the output image … that lie




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outside of a desired depth of field for a featured portion of the image.”

Appx1994 (21:7-44).

The prior art also discloses wide and tele lenses that can be
scaled for use in Parulski’s dual-aperture camera.

     Parulski is focused on the imaging processing techniques for

combining the wide and tele images. It does not detail the lens

prescription or image sensor data for either the Wide or Tele lenses

used in the camera, and does not require any particular lens design.

See generally Appx1953-2001. So, for example, Parulski does not

dictate any specific field of view angle or focal length for its lenses. Nor

does it address the material from which those lenses should be made (a

characteristic reflected in the “Abbe number” of the lens). 2 Nor does it

specify the “brightness ratio,” also called “f-number,” of the lens.3 It

instructs instead that any “[e]lements not specifically shown or




2 The “Abbe number is an approximate measure of how a material’s
index of refraction depends on the frequency of light passing through
it.” Appx36.
3 The f-number of a lens dictates how much light reaches the image

sensor in a given time and thus influences how bright the resulting
image is. Appx4783-4784; Appx4817. The lower the f-number, the
brighter the image captured by the camera in a given amount of time.
Appx4817-4818.

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described herein may be selected from those known in the art.”

Appx1988 (10:2-4).

     Specific designs for fixed-focal length, dual-lens systems

appropriate for digital equipment like standalone digital cameras are

described in other prior art references. For instance, Japanese Patent

Pub. No. 2013-106289 (Konno), issued in 2013, discloses a dual-lens

assembly: “single-focus first and second imaging optical systems that

face the same direction,” with different focal lengths and specific lens

designs. Appx2461-2462. Konno includes an embodiment with Tele

and Wide lenses appropriate for a “slim and small-sized imaging

apparatus.” Appx2463; Appx2467-2469. Japanese Patent Pub. No.

S58-62609 (Kawamura), issued in 1983, describes a “telephoto lens of a

four-group, five-lens configuration.” Appx2378. And U.S. Patent No.

5,546,236 (Ogata), issued in 1996, describes “[a] wide-angle

photographic lens system.” Appx3645.

     Neither the Kawamura nor Ogata lens systems were specifically

designed for use in a standalone digital camera like that disclosed in

Parulski. See Appx3658 (3:5-6); Appx2378. But as the seminal

publication Modern Lens Design by Warren J. Smith (hereinafter



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“Smith”) explains, “[a] lens prescription can be scaled to any desired

focal length simply by multiplying all of its dimensions by the same

constant.” Appx2678. The user manual for Zemax—“a program which

can model, analyze, and assist in the design of optical systems”—

confirms as much. Appx3014 (discussing “scaling an existing [lens]

design to a new focal length”).

     When scaling a lens, linear measures—like lens radius—are all

“scaled by the same factor.” Appx2678 (Smith); Appx3014 (Zemax: “If

the scale factor is X, then data measured in lens units of length with be

scaled by the factor X.”). However, “angular characteristics”—like the

field of view and f-number (see supra at 5, 14 n.3)— “remain completely

unchanged by scaling.” Appx2678 (Smith); Appx3014 (Zemax:

“dimensionless” parameters are “not scaled”). And “[s]ome polynomial

coefficients, such as those on the Even Aspheric surface, have units that

change from term to term” rather than scaling by X or remaining

constant; scaling software like Zemax “accounts for this when scaling

the data.” Appx3014.

     Because Parulski does not specify prescription data or an image

sensor size for its camera, one must look to comparable dual-lens digital



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cameras from the same era—like the Kodak EasyShare V610 dual lens

digital camera, referenced as prior art in Parulski, Appx1986 (5:29-

30)—to determine what size “image sensors that Parulski would have

considered for use in its camera.” Appx2718. The V610 camera had two

1/2.5” image sensors. Appx3782. Thus, scaling the Kawamura and

Ogata lenses to accommodate 1/2.5” image sensors would allow those

lenses to be used in Parulski’s camera. Appx2718-2719; Appx2722-

2723; Appx2731-2736. This would require scaling Ogata by a factor of

6.114. Appx4798. Focal length would go from 35mm to 5.72mm, and

the f-number (2.9) and field of view (63.4 degrees) would remain the

same. Appx2718-2719. Kawamura would be scaled by a factor of 12.25.

Appx4789. Focal length would go from 200mm to 16.33mm, while the f-

number (4.0) and field of view (24.3 degrees) would remain the same.

Appx2723.

The ’479 patent claims a dual-aperture camera unit that outputs
a combined image.

     Similar to the prior art, U.S. Patent No. 10,225,479 (the ’479

patent), discloses “a thin (e.g., fitting in a cell-phone) dual-aperture




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zoom digital camera with fixed focal length lenses” configured to output

a “fused image.” Appx65 (3:18-23, 36-37, 47-48).




Appx56.

      As a dual-aperture camera, the invention claimed in the ’479

patent contains “two sub-cameras, a Wide sub-camera and a Tele sub-

camera,” where “[t]he Tele sub-camera is the higher zoom sub-camera

and the Wide sub-camera is the lower zoom sub-camera.” Appx65 (3:37-

41). The camera “can be operated in both still and video modes”; “[i]n

still mode,” at issue here, “zoom is achieved ‘with fusion’ (full or partial),

by fusing W[ide] and T[ele] images, with the resulting fused image



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including always information from both W[ide] and T[ele] images.”

Appx65 (3:47-51).

     As relevant to this appeal, a fused image will take on a point of

view from one or both images. As previously discussed, there are two

types of point of view: shape (also called perspective) and position. See

supra at 8-9; see also Appx66 (5:10-13) (“[A]s seen by each sub-camera

… a given object will be shifted and have different perspective

(shape).”). According to the ’479 patent, “[t]he system output image can

have the shape and position of either sub-camera image or the shape or

position of a combination thereof.” Appx66 (5:13-15). “If the output

image retains the Wide image shape then it has the Wide perspective

POV. If it retains the Wide camera position then it has the Wide

position POV. The same applies for Tele images position and

perspective.” Appx66 (5:15-20).

     Two image-processing techniques claimed by the ’479 patent are

at issue in this case. First, the camera unit described above may be

configured “to output the fused image with a point of view (POV) of the

Wide camera by mapping Tele image pixels to matching pixels within




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the Wide image.” Appx70 (13:40-50) (claims 1 and 23). This technique

results in a fused output image having a broader depth of field.

       Second, the camera unit described above may be “configured … to

process the Wide and Tele images to find translations between

matching points in the images to calculate depth information and to

create a fused image suited for portrait photos, the fused image having

a DOF [depth of field] shallower than DOFT [depth of field of the Tele

camera], and having a blurred background.” Appx71 (15:27-33) (claim

19). This technique results in a fused output image with a narrowed

depth of field where the subject of the image is in focus and the

background is blurred, thereby creating a bokeh effect. In fact, some

embodiments describe the fused output image “as a portrait photo

similar to a portrait photo taken with a digital single-lens reflex (DSLR)

camera.” Appx71 (15:43-46) (claim 21); Appx71 (15:47-48) (claim 22).

In other embodiments, a particular lens design is used. Appx71 (claim

20).

Apple files two petitions for inter partes review.

       In 2019, Corephotonics filed suit against Apple, alleging

infringement of ten patents, including the ’479 patent. Corephotonics,



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Ltd. v. Apple Inc., No. 3:19-cv-04809 (N.D. Cal.). In response, Apple

filed two petitions for inter partes review. The first, IPR2020-00905

(the -905 IPR), concerned the camera disclosed in independent claims 1

and 23 of the ’479 patent, configured to create a fused image with a

point of view of the Wide sub-camera. The second, IPR-2020-00906 (the

-906 IPR), concerned the camera disclosed in independent claim 19 of

the ’479 patent, configured to create a fused image with a shallow depth

of field and blurry background.

     The Board instituted review of both petitions.

In the -905 IPR, the Board rejects Apple’s claim construction
and, on that basis, finds Apple failed to carry its burden to prove
unpatentability.

     In the -905 IPR petition, Apple demonstrated that the

combination of Parulski and Konno—when combined with one or more

additional prior-art references—rendered claims 1-16, 18, 23-38, and 40

unpatentable as obvious. As relevant here, Apple argued that Parulski

teaches a dual-aperture camera with Wide and Tele lenses operative to

generate “a fused image with a point of view (POV) of the Wide

camera.”




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     The petition identified only one claim term requiring construction:

“fused image with a point of view (POV) of the Wide camera.” Appx91.

As is explained above, the output image of the claimed invention can

have the Wide perspective/shape or the Wide position (or neither, or

both). See supra at 19; Appx66 (5:13-15) (“The system output image can

have the shape and position of either sub-camera image or the shape or

position of a combination thereof.” (emphasis added)). Because the

specification describes Wide POV in two alternative ways and does not

specify that a certain type of POV must be maintained by image fusion,

Apple construed the term “fused image with a point of view (POV) of the

Wide camera” to mean a “fused image in which the positions or shapes

of objects reflect those of the Wide camera.” Appx349 (emphasis added);

Appx10.

     Apple explained how Parulski rendered independent claims 1 and

23 obvious. With respect to “output[ting] the fused image with the

point of view (POV) of the wide camera,” Apple explained that “Parulski

teaches an image enhancement process where in-focus portions of the

telephoto image are combined with the wide image to broaden the wide

image’s depth of field.” Appx113. A person of ordinary skill “would



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have understood” that this process, by its very nature, “would have

otherwise maintained the wide image,” therefore outputting a fused

image that reflects the scene as viewed by the wide camera. Appx113.

And with respect to “mapping Telephoto image pixels to matching

pixels within the Wide image,” Apple explained that “Parulski’s range

map is generated by matching pixels from the telephoto image to

matching pixels in the wide image,” satisfying the limitation. Appx114.

     Corephotonics did not dispute Apple’s construction in its

preliminary response, contesting instead whether Parulski teaches the

creation of a “fused image.” Appx179-182. The Board, finding no claim

construction necessary “to determine the merits of the Petition,”

declined to adopt one in its institution decision. Appx207.

     In its Patent Owner response, Corephotonics for the first time

urged a different construction of the claim term: “fused image in which

the positions and shapes of objects reflect the POV of the Wide camera.”

Appx270 (emphasis added). Still, Corephotonics did not advance any

argument that Parulski’s technique for combining sub-camera images

does not maintain Wide position and shape such that it would lack the

Wide POV under Corephotonics’s construction (indeed, it later conceded



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it does). Appx286-288; infra at 54-55. Instead, Corephotonics repeated

its argument that Parulski does not teach output of a “fused image” at

all, disclaiming that Parulski teaches any technique for “transferring

image data from the secondary still image into the output image.”

Appx282-286.

     In its Final Written Decision, the Board noted that the patent was

“not a model of clarity.” Appx11. It nonetheless adopted

Corephotonics’s claim construction, Appx11, construing the claim

language to mean “a fused image having a Wide perspective POV and a

Wide position POV.” Appx12 (emphasis added).

     The Board went on to find that Apple had not carried its burden to

prove that claims 1 and 23 were unpatentable as obvious. According to

the Board, because Apple had only argued that Parulski teaches

“generating a fused image having a Wide position POV,” it had “fail[ed]

to demonstrate how Parulski’s image fusion method would also

maintain the Wide perspective POV.” Appx21. And because the

remaining claims all depended directly or indirectly on claims 1 and 23,

the Board determined that Apple had failed to prove these claims were

unpatentable as well. Appx21-22.



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In the -906 IPR, the Board seized on a data-entry error by Apple’s
expert to find Apple failed to carry its burden to prove
unpatentability.

     In the -906 petition, Apple demonstrated that the combination of

Parulski, Kawamura, Ogata, and additional prior-art references

rendered claims 19-22 of the ’479 patent unpatentable as obvious. As

relevant here, Apple argued that a person of skill would have been

motivated to scale down the Kawamura and Ogata lenses for use in

Parulski’s camera, and the resulting camera system would satisfy all

limitations of claims 19-22.

     Citing the Smith textbook on lens design, Apple explained that

“[a] lens prescription can be scaled to any desired focal length simply by

multiplying all of its dimensions by the same constant.” Appx2678.

Apple’s expert Dr. José Sasián—a tenured professor of Optical Sciences

at the University of Arizona—used the Zemax program to demonstrate

how the Kawamura and Ogata lenses could be scaled for Parulski. See

Appx2718-2719; Appx2731-2733; supra at 16-17. He determined that a

person of ordinary skill would have used a 1/2.5” image sensor in

Parulski’s digital camera embodiment. See supra at 17; Appx2718-

2719; Appx2731-2733; see also Appx4780-4781 (Corephotonics’s expert



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Dr. Moore agreeing with use of 1/2.5” image sensor in scaling analysis).

Dr. Sasián’s Zemax calculations showed that, to accommodate a 1/2.5”

image sensor, the Ogata lens would have to be scaled by a factor of

about 6 and the Kawamura lens would have to be scaled by a factor of

about 12. See supra at 17. The focal length of the lenses would be

reduced by those factors, but the f-number and field of view of the

lenses would remain the same. Id.

     When entering the Ogata lens data into Zemax to conduct the

scaling analysis, Dr. Sasián made a data-entry error: “For the third

lens element he mistakenly [entered] an Abbe number of 26.5 (the Abbe

number of the second lens element), rather than the value 42.72 given

in Ogata.” Appx4798; see also Appx2733, Appx3660 (7:45). (Recall that

the Abbe number reflects the material from which a lens is made, which

affects refraction. See supra at 14 & n.2.) Comparing Ogata’s

prescription data to Dr. Sasián’s Figure 3C illustrates the mistake:




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Appx3660 (7:45) (Ogata prescription data) (emphasis added).




Appx2733 (Dr. Sasián’s Zemax results) (emphasis added).

     Corephotonics pointed out this error in its Patent Owner response.

Appx932. It did not, however, claim that entering the wrong Abbe


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number, associated with a different lens material, would affect any of

the relevant data from Dr. Sasián’s scaling analysis discussed in the

body of his declaration, such as the focal length, f-number, or field of

view. Instead, according to Corephotonics’s expert Dr. Moore, the effect

of the Abbe number error would have been limited to the calculations

for “field curvature, distortion and OPD fan plots,” depicted in Figure

3B in the Appendix to Dr. Sasián’s report. Appx4798. Moreover, the

issue of Dr. Sasián’s mistake came up only as an aside in the

background section of Corephotonics’s brief. Appx932. It was not

mentioned in Corephotonics’s argument on obviousness.

     Instead, Corephotonics argued that a person of ordinary skill

looking for lenses to use in Parulski’s camera “would have looked to

lenses designed for miniature digital camera modules, not to 15- and

25-year-old lenses, many times larger than desired, designed and built

using old technology, intended for use in film cameras.” Appx940.

According to Corephotonics, “[s]caling a design can dramatically alter

the practicality of manufacturing the design and its sensitivity to

variations in manufacturing,” and some “performance characteristics

for judging a lens design … change with the scale of a lens.” Appx942.



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In Corephotonics’s expert’s opinion, “scaling a good conventional lens

design to a smaller size will often produce a design that is substantially

inferior for its intended purpose to designs that were specifically

created to be used as small lenses. Appx4803. According to

Corephotonics, “the difficulties of scaling conventional lenses to

miniature size” would have stopped a person of ordinary skill from

scaling down Kawamura and Ogata. Appx943.

     In reply, Apple explained that the premise of Corephotonics’s

argument was wrong: A camera with a 1/2.5” image sensor is not a

miniature camera at all. Appx1027-1028. Thus, the sources cited in

Corephotonics’s Patent Owner Response detailing supposed problems

with scaling conventional lenses down to miniature size, see, e.g.,

Appx943-946, were inapplicable to scaling Kawamura and Ogata for use

in Parulski.

     In its final written decision, the Board sidestepped the crux of the

disagreement between the parties about whether a person of ordinary

skill would have selected a different lens design than Kawamura and

Ogata due to the difficulties in scaling down conventional lenses to

miniature size. Instead, it seized on Dr. Sasián’s Abbe number data-



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entry mistake. Appx39. The Board also purported to identify, sua

sponte, other supposed errors in Dr. Sasián’s scaling analysis. Appx37,

Appx41 n.10. Despite the fact that even Corephotonics did not cite any

Zemax error as material to the obviousness inquiry, the Board found

this issue outcome-determinative. According to the Board, Apple’s

argument about scaling lenses was “entirely based on Dr. Sasián’s

opinion, which [wa]s based on Dr. Sasián’s Zemax lens design software

analysis.” Appx40. Finding Dr. Sasián’s analysis unreliable, the Board

determined that Apple failed to demonstrate nonobviousness. Appx40.

     This appeal followed.

                     SUMMARY OF ARGUMENT

     I. The Board erred in both the -905 IPR and the -906 IPR. In

the -905 IPR, the Board adopted an erroneous construction of the term

“fused image with a point of view of the Wide camera.” Although

nothing in the claim limits “a point of view of the Wide camera” to an

image with both Wide position and Wide shape point of view, the Board

limited the claim in that way. That interpretation ignored the

specification’s use of “point of view” to mean either position or shape or

both, and it and improperly limited the claims to one preferred



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embodiment. Under the correct construction of the term, Corephotonics

makes no serious argument that Parulski does not teach this limitation.

And even under the Board’s construction, Corephotonics made a key

concession in its sur-reply effectively conceding that Parulski meets

even Corephotonics’s cramped construction.

     II. In the -906 IPR, the Board made up its own basis for finding

the claims not unpatentable. Instead of resolving the dispute between

the parties, the Board seized on an inconsequential data-entry error by

Apple’s expert. That error had no bearing on the obviousness question,

and Corephotonics never argued that it did. By sua sponte elevating a

minor mistake into a case-dispositive issue, the Board ran afoul of the

Administrative Procedure Act, and its decision is separately

unsupported by substantial evidence.

                         STANDARD OF REVIEW

     This Court reviews decisions of the Board under the

Administrative Procedure Act (APA). E.g., Pers. Web Techs., LLC v.

Apple, Inc., 848 F.3d 987, 992 (Fed. Cir. 2017). The Board’s legal

conclusions are reviewed de novo. ESIP Series 2, LLC v. Puzhen Life

USA, LLC, 958 F.3d 1378, 1383 (Fed. Cir. 2020). The Board’s claim



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construction, when based upon intrinsic evidence, is a matter of law

reviewed de novo. Seabed Geosolutions (US) Inc. v. Magseis FF LLC, 8

F.4th 1285, 1287 (Fed. Cir. 2021) (vacating and remanding based on

claim construction error).

     The Board’s factual findings, including its findings on motivation

to combine, are reviewed for substantial evidence. TQ Delta, LLC v.

Cisco Sys., Inc., 942 F.3d 1352, 1357 (Fed. Cir. 2019) (reversing

motivation to combine findings). However, the Board violates the APA

if it “fail[s] to adequately evaluate [a party’s] primary argument,” Power

Integrations, Inc. v. Lee, 797 F.3d 1318, 1325 (Fed. Cir. 2015), or “fail[s]

to make a [relevant] factual finding,” VirnetX Inc. v. Cisco Sys., Inc., 776

F. App’x 698, 703 (Fed. Cir. 2019). It also violates the APA if it rules on

a ground of which the parties were not given notice or an opportunity to

respond. See In re IPR Licensing, Inc., 942 F.3d 1363, 1368-69 (Fed.

Cir. 2019); Nike, Inc. v. Adidas AG, 955 F.3d 45, 53 (Fed. Cir. 2020). In

these circumstances, “the appropriate course of action” is “to vacate and

remand the findings for further consideration.” Google LLC v.

Conversant Wireless Licensing S.A.R.L., 753 F. App’x 890, 895 (Fed. Cir.

2018).



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                              ARGUMENT

     “A patent for a claimed invention may not be obtained … if the

differences between the claimed invention and the prior art are such

that the claimed invention as a whole would have been obvious before

the effective filing date of the claimed invention to a person having

ordinary skill in the art to which the claimed invention pertains.” 35

U.S.C. § 103. Evaluating the legal question of obviousness requires

“underlying factual determinations” on the so-called Graham factors,

which include “(1) the scope and content of prior art; (2) differences

between prior art and claims; (3) the level of ordinary skill in the art;

and (4) objective indicia of nonobviousness.” PAR Pharm., Inc. v. TWI

Pharms., Inc., 773 F.3d 1186, 1193 (Fed. Cir. 2014) (citing Graham v.

John Deere Co., 383 U.S. 1, 17-18 (1966)).

     “[W]here, as here, all claim limitations are found in a number of

prior art references,” the question is whether “a skilled artisan would

have been motivated to combine the teachings of the prior art

references to achieve the claimed invention, and [whether] the skilled

artisan would have had a reasonable expectation of success in doing so.”

Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348, 1361 (Fed. Cir. 2007). “[A]



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motivation to combine can be found explicitly or implicitly in the prior

art references themselves, in market forces, in design incentives, or in

‘any need or problem known in the field of endeavor at the time of

invention and addressed by the patent.’” Arctic Cat Inc. v. Bombardier

Recreational Prods. Inc., 876 F.3d 1350, 1359 (Fed. Cir. 2017) (quoting

KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 420 (2007)).

I.   In The -905 IPR, The Board Erred In Construing The Claim
     Term “Fused Image With A Point Of View Of The Wide
     Camera,” And Thus Wrongly Found Parulski Did Not
     Teach The Claim Limitation.

     Claims 1 and 23 recite that the camera outputs a “fused image

with a point of view (POV) of the Wide camera.” Appx70-71 (13:47-48,

15:65-66). The term “point of view” can refer to two characteristics of

an image: position or perspective. Supra at 8-10. In the -905 IPR, the

Board construed the claim term “fused image with a point of view of the

Wide camera” to require the image to have both Wide position and Wide

perspective. Appx12 (“[W]e construe a fused image having a Wide POV

to mean ‘a fused image having a Wide perspective POV and a Wide

position POV.’”). On that basis the Board found that Parulski does not

teach the final limitation of Claims 1 and 23.




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     The Board’s claim construction was error. The two POV options

taught in the patent are disjunctive, not conjunctive. Accordingly, the

claim term “fused image with a point of view of the Wide camera”

means “a fused image having either a Wide perspective or a Wide

position POV.” § I.A. The Board erred in concluding otherwise. § I.B.

Under the correct construction, Parulski teaches this limitation (and

Corephotonics scarcely contends otherwise). § I.C.1. Even under the

Board’s construction, however, Corephotonics conceded that Parulski

teaches that the fused image has a point of view of the Wide camera.

§ I.C.2. The Board’s decision on the -905 IPR should be reversed.

     A.    The claim term “fused image with a point of view of
           the Wide camera” means either Wide camera position
           or Wide camera perspective.

     The claim language and specification both make clear that a

“fused image with a point of view of the Wide camera” means a fused

image with either the Wide shape POV or the Wide position POV.

     Beginning with the claim language itself, claim 1 requires:

     e) a camera controller operatively coupled to the first and
     second AF mechanisms and to the Wide and Tele image
     sensors and configured to control the AF mechanisms and to
     process the Wide and Tele images to create a fused image,
     wherein areas in the Tele image that are not focused are not
     combined with the Wide image to create the fused image and


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     wherein the camera controller is further operative to output
     the fused image with a point of view (POV) of the Wide
     camera by mapping Tele image pixels to matching pixels
     within the Wide image.

Appx70 (13:40-50) (emphasis added). The claim refers to “a point of

view (POV) of the Wide camera,” not a Wide position or Wide

perspective point of view, and the claim says nothing suggesting the

point of view is solely from the Wide camera. The dependent claims also

do not further specify Wide perspective or Wide position point of view,

suggesting that the claim language includes either one. See Scanner

Techs. Corp. v. ICOS Vision Sys. Corp., N.V., 365 F.3d 1299, 1304-05

(Fed. Cir. 2004) (construing “an illumination apparatus” to include

multiple illumination sources in the absence of narrowing language in

other claim limitations).

     Turning to the specification, the ’479 patent contemplates multiple

iterations of Wide POV. It gives different examples of Wide POVs: “If

the output image retains the Wide image shape then it has the Wide

perspective [i.e., shape] POV,” and if the output image “retains the Wide

camera position then it has the Wide position POV.” Appx66 (5:15-19).

The specification further explains that “[t]he system output image can




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have the shape and position of either sub-camera image or the shape or

position of a combination thereof.” Appx66 (5:13-15) (emphasis added).

     Claim 1’s nonspecific “a point of view (POV) of the Wide camera” is

best read to encompass any of these Wide POVs described in the

specification: Wide position POV, Wide perspective POV, or both.

     That is the lesson of Immunex Corp. v. Sanofi-Aventis U.S. LLC,

977 F.3d 1212 (Fed. Cir. 2020). Immunex involved a dispute over the

proper construction of the claim term “human antibody.” As the patent

specification there explained, an antibody developed for therapeutic

purposes “may be partially human, or … completely human.” Id. at

1219. The patent included no “express definition” of the non-specific

term “human antibody,” but the patentee insisted that the term should

be construed to mean only “completely human” antibodies. Id. at 1218.

The Court rejected that view. Instead, finding “nothing in the claim’s

language restrict[ing] ‘human antibodies’ to those that are fully

human,” the Court held that it should be construed as “a broad category

encompassing both partially and completely human antibodies,” as the




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term was used in the specification. Id. at 1218-19 (emphasis added).4

The same logic applies here, hence the correct construction: a “fused

image in which the positions or shapes of objects reflect those of the

Wide camera.”

     Two distinct embodiments of the invention detailed in the

specification further confirm the correct claim construction. The claim

requires “a point of view (POV) of the Wide camera,” which is achieved

“by mapping Tele image pixels to matching pixels within the Wide

image.” Appx70 (13:48-50). The specification gives a few examples of

mapping Tele image pixels to the Wide image. First, the specification

states that the camera may “register Tele image pixels to a matching

pixel set within the Wide image pixels.” Appx66 (5:24-26). The

specification describes the resulting image as one with “Wide POV”

generally, without expressly stating whether it has Wide position, Wide

perspective, or both. Appx66 (5:26). A few sentences later, however,

the specification makes clear that the foregoing example (registering




4 Although the Court in Immunex used the “broadest reasonable
interpretation” standard, id. at 1217, it noted that no party had
suggested the case would come out differently under the Phillips
standard, id. at 1217 n.3.

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Tele pixels to the Wide image) retains only Wide position POV and not

Wide perspective POV. This is because, the specification clarifies, an

additional preceding step must be performed if the user wishes to also

retain the Wide shape point of view. Appx66 (5:30-34). In that

preceding step, the Tele image must first be “shifted,” and only

thereafter is the pixel-matching “registration” performed. Id. Without

this additional step, a registration map maintains only Wide position

POV, and so does the resulting fused image. See Appx3910-3911. The

specification nonetheless describes the first embodiment—an image

maintaining only Wide position POV—as “retain[ing] the Wide POV.”

Appx66 (5:26). Thus, if no pre-registration “shifting” operation occurs

before “mapping Tele image pixels to matching pixels within the Wide

image,” as required by claim 1, Appx70 (13:49-50), the output image

retains just the Wide position POV. The claim itself does not require

shifting—that is just one of two possible embodiments disclosed; the

specification also describes an embodiment that does not involve

shifting. Apple’s proposed construction properly allows for both of these

examples to fall within claim 1. Cf. Immunex, 977 F.3d at 1220.




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     In sum, the claim language, the specification’s descriptions of

POV, and the embodiments of pixel-mapping all point in the same

direction: A “point of view (POV) of the Wide camera” signifies that

“positions or shapes of objects reflect those of the Wide camera.” 5

     B.    The Board’s claim construction is contrary to the
           claim language and specification, and imports
           limitations from a dependent claim.

     In adopting Corephotonics’s claim construction, the Board ignored

key aspects of the claim language and specification. For starters,

although the Board recognized that the ’479 patent refers to more than

one Wide POV, such as “Wide perspective POV” and “Wide position

POV,” it reasoned that “the position and perspective (shape) of an object

in an image depends on the POV of the camera.” Appx11. From that, it

somehow discerned that Wide POV must entail both. That is classic

converse fallacy, and does not follow from the Board’s premise.

Certainly, if both the position and shape of objects in an image are

those of the Wide camera, the image has a Wide POV. But the converse

isn’t necessarily true.




5There is no relevant prosecution history for the term “fused image
with a point of view of the Wide camera.”

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      Moreover, the Board’s statement on this front ignores the image

processing steps required by the claims. When capturing an image in

the first instance, position and shape do travel together: The Wide

camera is going to capture an image with the Wide position and the

Wide shape. But the whole point of the patent is to create a fused

image, and that fused image “can have the shape and position of either

sub-camera image or the shape or position of a combination thereof.”

Appx66 (5:13-15) (emphasis added). So with the fused image, position

and shape do not necessarily go together. That is precisely what gives

rise to the parties’ dispute.

      When it finally considered the point of view of the fused image,

the Board’s reasoning was entirely conclusory. It began by listing some

of the iterations, or combinations, of POV contemplated in the

specification. See Appx11 (citing Appx66 (5:20-23). For example, it

explained that an image with a Wide perspective POV could have the

Wide position POV or the Tele position POV. Appx11. From there, the

Board concluded, “a fused image has a Wide POV when it has both a

Wide perspective POV and a Wide position POV.” Appx11-12. Why?

Because “[i]f the fused image did not have a Wide position POV it could



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only be described as having a Wide perspective POV, not a Wide POV.”

Appx12.

     That “reasoning” is no more than ipse dixit. It ignores that claim

1 entirely omits perspective or shape. And it ignores that the patent

nowhere defines “Wide POV” against Wide perspective POV or Wide

position POV, instead using “Wide POV” as an umbrella category that

may include either.

     Moreover, it impermissibly ignores the specification’s description

of an embodiment maintaining only Wide position POV as still

“retain[ing] the Wide POV.” Appx66 (5:26); see also supra at 38-39.

“[T]here is a strong presumption against a claim construction that

excludes a disclosed embodiment.” Immunex, 977 F.3d at 1220 (quoting

Nobel Biocare Servs. AG v. Instradent USA, Inc., 903 F.3d 1365, 1381

(Fed. Cir. 2018)). If Wide POV is construed to require retaining both

the position and shape of the Wide camera, then the un-shifted pixel-

mapping embodiment expressly detailed in the specification would not

satisfy the claim limitation, despite there being no indication that the

term “Wide POV” is intended to exclude that embodiment. See Nobel

Biocare Servs., 903 F.3d at 1381 (rejecting claim construction that



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excludes a disclosed embodiment where “the claim language does not

require the exclusion”).

     As the last step of its flawed analysis, the Board pointed to Figure

5 of the ’479 patent. Appx12. Figure 5 shows a series of image

processing steps. Each step in the Figure 5 flowchart is recited in a

different claim (or claims) of the ’479 patent. For example, the second

box (504) corresponds to claim 2, while the fifth box (510) corresponds

to claims 5 and 6. Compare Appx60 (Figure 5), and Appx68 (9:39-60)

(discussing Figure 5), with Appx70 (13:22-14:4) (claims 2 through 6). In

general, Figure 5 describes the method for generating a “zoom image in

still mode,” Appx68 (9:40), and includes a “decision” step (510) before

the final “fusion” step (512) in which “Wide pixel values are chosen to be

used in the output image” whenever a comparison of the processed

image data “detects significant dissimilarities.” Appx68 (9:56-58); see

also Appx70 (14:1-4) (same language in claim 6).

     The Board determined that the decision step in the Figure 5

flowchart supports Corephotonics’s construction of “a Wide POV”

requiring both Wide position and Wide perspective POV. Appx12; see

also Appx583-584 (oral argument questions on decision step). The



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Board’s analysis is difficult to follow, in part because it largely consists

of quoting the various boxes in the flowchart. But the chain of

reasoning appears to be as follows: First, the Board concluded that,

after completing the process described in Figure 5, “the fused image

contains no information from the Tele image that differs from

information from the Wide image”—in other words, it has both the Wide

shape and Wide position. Appx12. From this fact, the Board concluded

“Wide POV” must mean both Wide perspective and Wide position POV.

     The Board’s reliance on Figure 5 is deeply flawed. To begin, the

Board’s analysis of decision step 510 rests on claim limitations found in

claims 5 and 6—not claim 1. See Appx68 (9:51-58) (decision step 510);

Appx70 (14:1-4) (claim 6, reciting a camera controller “configured to

choose Wide pixel values to be used in the output image” wherever it

detects an “error” in the registration map). Claim 1 cannot be

understood to include the limitation disclosed in claims 5 and 6. To

conclude otherwise would violate the principle of claim differentiation:

“[T]he presence of a dependent claim that adds a particular limitation

gives rise to a presumption that the limitation in question is not present

in the independent claim.” Phillips v. AWH Corp., 415 F.3d 1303, 1315



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(Fed. Cir. 2005). So claim 1 does not include the additional steps,

depicted in the second through sixth boxes of Figure 5, on which the

Board relied.

     Relatedly, the Board’s conclusion is essentially that claim 6 recites

an image that necessarily preserves both Wide perspective and Wide

position POV. That does not mean that claim 1 discloses an image

preserving both Wide perspective and Wide position POV. In fact, we

know from the specification that it doesn’t: The specification

contemplates that an output image may have “the shape and position of

either sub-camera image or the shape or position of a combination

thereof.” Appx66 (5:13-15) (emphasis added). Indeed, if the term “Wide

POV” in claim 1 signified that objects in the fused image reflected in

every instance the shape and position of the Wide camera, then Claim 6

would be “superfluous.” InterDigital Commc’ns, LLC v. Int’l Trade

Comm’n, 690 F.3d 1318, 1325 (Fed. Cir. 2012).

     Moreover, the fact that Figure 5 leads to a fused image with both

Wide shape and position POV does not determine the meaning of “a

Wide POV” in the claim language. At best it is a preferred embodiment,




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which cannot “limit[] in scope” the claim. Altiris, Inc. v. Symantec

Corp., 318 F.3d 1363, 1370 (Fed. Cir. 2003).

     In sum, the Board provides no persuasive analysis in support of

Corephotonics’s claim construction. It ignores the specification and the

embodiments described therein, and it wrongly imports limitations from

other dependent claims. The correct construction—that “a wide POV”

includes either a Wide perspective/shape POV or a Wide position POV—

is consistent with the plain claim language, accords with the multiple

embodiments recited in the specification, and does not import a

limitation from a dependent claim.

     C.    Parulski teaches the fused image has a “point of view
           of the Wide camera” under either construction.

     Because the Board “relied on its erroneous claim construction” to

find claims 1 and 23 nonobvious, that determination should at least be

vacated and remanded to Board. Kaken Pharm. Co. v. Iancu, 952 F.3d

1346, 1354-55 (Fed. Cir. 2020). But here the Court may go further and

reverse the Board entirely, because “uncontested findings regarding

[Parulski] render [the claims] obvious under the proper [construction].”

Praxair Distrib., Inc. v. Mallinckrodt Hosp. Prods. IP Ltd., 890 F.3d

1024, 1036-37 (Fed. Cir. 2018); see also Carrum Techs., LLC v. Unified


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Patents, LLC, No. 20-2204, 2021 WL 3574209, at *7 (Fed. Cir. Aug. 13,

2021) (finding “[r]eversal is appropriate” in case with “only [one]

permissible factual finding” under the proper claim construction).

     No party disputes that Parulski teaches matching Tele sub-

camera pixels to pixels in a Wide sub-camera image to create a range

map. See Appx1993 (19:49-20:15); Appx283; Appx605-607. Parulski

further teaches that the range map may be “used to enhance the depth

of field of the primary [Wide sub-camera] image” by “us[ing]” “the

secondary [Tele sub-camera] image … to sharpen portions of the [Wide]

image.” Appx1994 (22:37-45). Thereby, Wide and Tele sub-camera

images are “combined into a modified image with a broadened depth of

field.” Appx1997 (28:47-55). At minimum, this discloses a method for

creating a fused image with the Wide position POV—meeting the claim

limitation under the proper construction. Corephotonics has recognized

as much. See infra at 50.

     Indeed, reversal would be appropriate even if this Court accepts

the Board’s claim construction. That is because according to

Corephotonics, Parulski’s pixel-matching process necessarily retains

Wide perspective POV as well as Wide position POV.



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     Simply stated, Parulski renders Claims 1 and 23 obvious under

either claim construction, and reversal of the Board’s contrary holding

is warranted.

           1.   Parulski teaches outputting a fused image that
                maintains a Wide POV.

     Claims 1 and 23 of the ’479 patent require generating the “fused

image with a [Wide POV]” “by mapping Tele image pixels to matching

pixels within the Wide image.” Appx70 (13:47-50), Appx66 (5:23-26).

Likewise, Parulski teaches outputting a fused image that maintains a

wide position POV.

     Step one of this process is capturing both wide and tele images

from the wide and tele lenses, respectively. Appx1995 (23:33-43); see

also Appx1993 (19:63-65). At step two, Parulski uses the two images to

create a “range map.” Appx1993 (19:51). Initially, the image from the

Wide camera is “cropped and upsampled so that corresponding features

in the two … images span the same number of pixels.” Appx1993 (20:4-

6). Then the Tele image “is correlated with the cropped and upsampled

[Wide] image to determine the pixel offset” and to generate a “map.”

Appx1993 (20:9-15).




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     Second, this pixel-matching range map is used to create a “fused

image.” See Appx70 (13:47). Parulski teaches use of the range map “for

a variety of purposes,” including to “enable object extraction from an

image by identifying the continuous boundaries of the object so that it

can be segmented within the image.” Appx1993 (20:51-59). It further

contemplates using portions of the Tele image—presumably, extracted

pixels from the Tele image—“positioned near the [Tele] focus distance”

to “sharpen portions” of the Wide image. Appx1994 (22:40-43). That

process is outlined in Figure 14, whereby the Tele image is “used to

enhance the depth of field of the [Wide] image.” Appx1994 (22:37-42).

Altogether, this results in a “fused image,” in which the Tele and Wide

images are “combined into a modified image with a broadened depth of

field.” Appx1997 (28:52-53); cf. Appx65 (3:48-51) (’479 patent describing

a “fused image” as one which “includ[es] information from both [Wide]

and [Tele] images”).

     The fused image has “a [Wide POV],” Appx70 (13:48), because, at

minimum, the output image resulting from Parulski’s enhancement

process maintains Wide position POV. See supra at 40 (claim

construction). This is because Parulski teaches that image data from



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the Tele image is used to “sharpen portions” of the Wide image,

“enhanc[ing] the depth of field” of the latter, Appx1994 (22:37-42), but

“otherwise maintain[ing] the wide image,” Appx1798. In other words,

objects still reflect the position of the Wide sub-camera in the resulting

fused image, because pixels from the Tele camera have been correlated

to those within the Wide image, extracted, and fused with the Wide

image to broaden the image’s depth of field.

     When pressed at oral argument, Corephotonics conceded both that

Parulski teaches a technique for creation of a “range map” through pixel

matching, see Appx605 (36:20-21), Appx607 (38:14-21), and that a range

map may be used to combine Tele and Wide image data, Appx607 (38:4-

10) (“Parulski … teaches you can [use a range map] to extract an object

like a person in the foreground [of a Tele image] and … paste it into the

wide perspective.”); Appx622 (53:17-20) (“Parulski … teaches in the

fused image a combination where it has the … wide position[] [and] the

[T]ele perspective or [a] combination [of both].”).

     Corephotonics disputed only whether a person of ordinary skill

would know to put Parulski’s teachings together, arguing that Parulski

did not precisely disclose use of a “range map” for the purpose of



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creating a “combined” or fused image. See, e.g., Appx283, Appx4289.

That is wrong as a factual matter. But that argument fails, as a legal

matter, under the rule that a prior art reference must be “analyzed as a

whole.” Gen. Elec. Co. v. Raytheon Techs. Corp., 983 F.3d 1334, 1352

(Fed. Cir. 2020). To prevent “unduly dissect[ing] prior art references

into collections of individual elements,” this Court presumes a

motivation to combine the elements of a claim “present together” in a

single prior art reference. Id. Thus, a person of “ordinary creativity”

would know to combine Parulski’s compatible teachings to create a

fused image from a range map. KSR, 550 U.S. at 421; see also Bradium

Techs. LLC v. Iancu, 923 F.3d 1032, 1049 (Fed. Cir. 2019) (“A reference

must be considered not only for what it expressly teaches, but also for

what it fairly suggests.”).

     In any event, as Apple explained, Parulski does explicitly teach

deploying a range map to enhance a Wide image’s depth of field by

fusing Tele and Wide image data. It explains: “In order to understand

the use of a range map for purposes such as noted above [e.g., object

extraction], it is helpful to consider an example.” Appx1994 (21:1-8). It

then provides the example of a photographer faced with mountains in



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the distant range, flowers in the mid-range, and a dog in the

foreground. Appx1994 (21:9-13). Initially, the image results in the dog

being “out of focus,” because the image is taken in “landscape mode”—

that is, from the Wide camera. Appx1994 (21:14-16). But the

specification teaches “use of the range map” to adjust the “depth of

field,” such that the “dog is in focus, the mountains are in focus, and so

are those great flowers.” Appx1994 (21:7, 21:25-27). It also suggests

use of the range map “to isolate” part of the image, such as the dog in

the foreground, to “sharpen[]” that portion of the image in particular.

Appx1994 (21:27-31). These improved images are produced by using

the “range data,” that is, pixels from both Wide and Tele images that

have been correlated and matched to form the range map. Appx1994

(21:28).

     Corephotonics’s further argument that Parulski teaches using the

range map in a way that does not fuse data from the different images,

Appx284, is incorrect. Parulski explicitly teaches using the range map

to extract objects from an image. Appx1993 (20:57-58). The only

conceivable purpose for such extraction is to fuse the extracted object

with the other image, as the specification goes on to discuss in the



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Alaskan mountains example. Appx1994 (21:7-44). Corephotonics

acknowledged as much. See supra at 50 (citing Appx607 (38:4-10)).

     In summary, Parulski teaches at minimum a fused image with a

Wide POV, in which the positions of objects reflect those of the Wide

camera. Parulski thus renders Claims 1 and 23 obvious under the

proper claim construction.

           2.   Even if this Court accepts Corephotonics’s claim
                construction, Parulski renders Claims 1 and 23
                obvious.

     The Board determined that Apple’s “only argument for how the

combination of Parulski and Konno teaches this limitation is Parulski’s

teaching of generating a fused image having a Wide position POV.”

Appx21. It thus declined to engage with the teachings of Parulski to

consider whether Parulski teaches generating a fused image that “also

maintain[s] the Wide perspective POV,” as the Board’s claim

construction requires. Appx21. In so doing, the Board ignored a key

concession Corephotonics made: To advance their claim construction

argument, Corephotonics adopted a reading of the patent claims that

Parulski undisputedly satisfies. The Court should reject

Corephotonics’s claim construction for the reasons stated above. See



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supra at 35-46. If it adopts the conjunctive construction, however, its

analysis necessarily requires a finding of obviousness, and the Court

should hold Corephotonics to its concession. See In re NTP, Inc., 654

F.3d 1279, 1305 (Fed. Cir. 2011) (finding a party is “bound by [its]

concessions and may not reargue [those] points”).

     As discussed above, the ’479 patent’s specification discusses an

embodiment wherein “register[ing] Tele image pixels to a matching

pixel set within the Wide image pixel” results in an “output image [that]

retain[s] the Wide POV.” Appx66 (5:23-26). Corephotonics has urged

that “Wide POV” means Wide position and perspective POV throughout

the patent, including in that embodiment. See Appx270. Indeed,

Corephotonics took the position in its sur-reply that “registering pixels

to matching pixels”—as described in the relevant embodiment—“will

necessarily address both position (shift) and perspective (shape).”

Appx414. On that basis it urged the Board to read Wide POV as

requiring Wide shape and position.

     Yet at no point did Corephotonics dispute, or the Board question,

that Parulski itself teaches the mapping of Tele image pixels to a

matching pixel set within the Wide image, producing a range map. See



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Appx1993 (20:1-15); Appx607 (38:20-21) (Corephotonics: “Pixel

matching gives you a range map.”); supra at 48. So if “registering pixels

to matching pixels will necessarily address both position (shift) and

perspective (shape),” Appx414 (emphasis added), as Corephotonics has

contended, then Parulski plainly teaches this limitation. Thus, to the

extent this Court accepts Corephotonics’s reading of the claim language

and specification, it must also hold Corephotonics to its concession, and

determine that Parulski teaches this claim limitation, and thus that the

claims are obvious.

                                   ***

      There is no way to construe the claim language that avoids finding

Claims 1 and 23 obvious in view of Parulski. The Board’s contrary

finding should be reversed.

II.   In the -906 IPR, The Board Violated The APA By Raising A
      New Argument Sua Sponte With No Notice, Requiring A
      Remand.

      Apple established that a person of ordinary skill would scale the

wide-angle lens of Ogata and the telephoto lens of Kawamura for use in

Parulski’s dual-lens digital camera. Dr. Sasián explained that the lens

in both Ogata and Kawamura could be scaled for use in a camera with a



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1/2.5” image sensor, and that a person of ordinary skill would have a

reasonable expectation of success in doing so. Appx2718; Appx2722-

2723.

        As explained above, Dr. Sasián made a data-entry mistake when

inputting the Ogata lens data into the Zemax lens design program. As

Corephotonics itself recognized, “For the third lens element he

mistakenly used an Abbe number of 26.5 (the Abbe number of the

second lens element), rather than the value 42.72 given in Ogata.”

Appx4798; see also supra at 26-27. Inputting the wrong Abbe number

had no impact on any datapoint from Dr. Sasián’s analysis relevant to

his scalability opinion, and even Corephotonics never argued that it was

in any way material to the parties’ dispute on obviousness. § II.A. But

the Board, sua sponte and without notice to the parties, seized on Dr.

Sasián’s mistake to avoid resolving the parties’ actual dispute on

obviousness. In so doing, the Board violated the APA, requiring a

remand regardless of the merits of the Board’s sua sponte criticisms of

Dr. Sasián’s analysis. § II.B. Alternatively, the Board’s findings are

unsupported by substantial evidence, in which case a remand is also

required. § II.C.



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     A.    Apple shows that claims 19-22 are obvious, and while
           Corephotonics disputes aspects of Apple’s showing, it
           never argues that Dr. Sasián’s data-entry error has
           any bearing on obviousness.

     Apple’s petition demonstrated that claims 19-22 of the ’479 patent

are invalid as obvious. Claim 19 recites a digital camera with two

lenses: one wide-angle and one telephoto. Appx70-71 (14:66-15:32).

The camera controller can fuse images from each of the two lenses

together “to create a fused image suited for portrait photos,” commonly

known as a bokeh effect. Appx71 (15:30-31). Apple’s petition explained

that Parulski taught a dual-lens digital camera with wide and tele

lenses, plus a controller for creating a fused image. Appx739-740;

Appx743-744.

     Parulski did not teach the specific physical parameters of the wide

and tele lenses. Appx749. Apple and its expert explained that, given

Parulski’s silence on the matter, a person of ordinary skill would look to

other references for teaching the lens assemblies. Appx746-747;

Appx2717-2718; Appx2722-2723. Apple relied on Ogata for teaching

the wide lens, and Kawamura for teaching the tele lens. Appx746;

Appx754. Both Ogata and Kawamura disclose using their lenses with

larger cameras than those discussed in Parulski. Id. Citing a well-


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known textbook on lens design, Apple and its expert explained that the

Ogata and Kawamura lenses could nevertheless be scaled down for use

in Parulski. Appx746-747, Appx750-751 (Kawamura); Appx753-754,

Appx756-757 (Ogata). They further explained that combining

Kawamura or Ogata with Parulski “would have been nothing more than

using known methods to incorporate [the] lens assembly” into Parulski’s

dual-lens camera. Appx748-749; Appx755-756.

     In response, Corephotonics argued that a person of ordinary skill

would not have chosen to scale Kawamura or Ogata to use in Parulski.

Appx940-946; see also supra at 28-29. In particular, Corephotonics

claimed that it would be too difficult to manufacture a scaled-down

Kawamura or Ogata lens: “[s]caling a design can dramatically alter the

practicality of manufacturing the design and its sensitivity to variations

in manufacturing.” Appx942; Appx4802-4803. At bottom,

Corephotonics claimed that a person of ordinary skill, instead of scaling

down Kawamura and Ogata, “would have instead used a fully aspheric

[lens] design with plastic elements”—features Kawamura and Ogata

did not have but were, according to Corephotonics, required “to make an

accepted miniature camera lens.” Appx959 (emphasis added).



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     Corephotonics identified Dr. Sasián’s data-entry mistake in a

background section of its Patent Owner Response entitled “Overview of

Selected Prior Art.” Appx913; Appx932. The relevant paragraph began

by stating that Dr. Sasián’s Zemax analysis confirmed Corephotonics’s

expert’s analysis on a different issue. Appx932 (“We can confirm this

with Dr. Sasián’s Zemax analysis.”). As an “initial matter,”

Corephotonics noted that “Dr. Sasián appears to have made at least one

error in entering the parameters from the Ogata Embodiment 1 lens.”

Appx932. Corephotonics asserted that inputting the wrong Abbe

number meant that “Dr. Sasián’s field curvature, distortion and OPD

fan plots” in Figure 3B of the Appendix to his declaration “do not

accurately reflect the performance of a scaled version of Ogata’s

Embodiment 1 lens.” Appx932. Corephotonics did not cite any other

lens parameters that would be affected by the mistake, nor did it argue

that using the correct Abbe number would show Ogata’s scaled lens

unsuitable for Parulski. Indeed, the mistake was never mentioned

again—not even in passing, and nowhere in the argument section of the

Corephotonics’s response.




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     In reply, Apple explained that Corephotonics’s emphasis on the

difficulties of scaling a conventional lens down to miniature size was

misguided. While miniature cameras may be used in things like

cellphones and tablets, the claims of the ’479 patent did not require

miniature cameras. Instead, claim 19 simply required “A dual-aperture

digital camera,” not a miniature camera—or even a camera for use in a

cellphone. Miniature cameras suitable for a cellphone are in a distinct

category from digital cameras with a 1/2.5” sensor, like the relevant

embodiment of Parulski. See Appx3957-3958, Appx3961 (chart

categorizing lens sizes); see also Appx3782 (technical specifications for

Kodak EasyShare V610 dual lens digital camera, with 1/2.5” image

sensors). Consequently, Apple explained, Corephotonics’s argument

about the problems in scaling Ogata down to miniature size are simply

inapposite when considering scaling the Ogata lens down to

accommodate a 1/2.5” image sensor. See Appx1029-1032.

     The foregoing makes clear that Dr. Sasián’s Abbe number mistake

was simply immaterial to the parties’ dispute about obviousness.

Figure 3B in the Appendix to Dr. Sasián’s declaration—the only data

Corephotonics claimed would be affected by the mistake—does not



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speak to the practicality and manufacturing concerns at the heart of

Corephotonics’s nonobviousness argument. Appx2732. The data

therein—specifically “field curvature, distortion and OPD fan plots,”

Appx932—is not even mentioned in the body of Dr. Sasián’s declaration

as relevant to the scaling analysis Corephotonics was trying to refute.

Appx2718. It is thus no surprise that neither party treated the issue as

significant.

     B.    The Board’s sua sponte reliance on Dr. Sasián’s
           mistake to sidestep resolving the parties’ actual
           dispute on obviousness violates the APA and requires
           a remand.

     Notwithstanding the foregoing, the Board found Dr. Sasián’s Abbe

number mistake (along with non-existent mistakes discussed below)

dispositive, and it was the sole basis for the Board’s decision. See

Appx39-41. This violates the APA in two related ways.

     First, the APA generally requires “the Board [to] base its decision

on arguments that were advanced by a party, and to which the opposing

party was given a chance to respond.” IPR Licensing, 942 F.3d at 1368-

69. In limited circumstances the Board may raise issues sua sponte, but

to do so it must “give[] the parties notice and an opportunity to

respond.” Nike, 955 F.3d at 53. These process requirements apply to


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the Board’s treatment of both petitioners and patent owners. See SAS

Inst., Inc. v. ComplementSoft, LLC., 825 F.3d 1341, 1351 (Fed. Cir.

2016), rev’d and remanded on other grounds sub nom., SAS Inst., Inc. v.

Iancu, 138 S. Ct. 1348 (2018).

     The Board ran afoul of those principles here. It based its decision

solely on a data-entry mistake no party argued was material. See supra

at 59-60. And it provided no advance notice to the parties of the

contemplated basis for its decision. The Board’s insistence that, once

Corephotonics identified the mistake, Apple had an opportunity in its

reply “to either correct its analysis or explain why the Abbe number

discrepancy did not affect the analysis,” actually highlights its error.

Appx41. Corephotonics never argued that the Abbe number mistake

was in any way material to the obviousness inquiry. Its identification

of the mistake in passing in the background section of its brief did not

put Apple on notice that the Board might sua sponte conclude that the

mistake was material, and base its decision on the mistake instead of

the obviousness arguments raised by the parties. If the Board thought

the parties failed to appreciate the import of Dr. Sasián’s mistake, the

proper course of action was to provide the parties with notice of the



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Board’s concern, along with an opportunity to respond. See, e.g.,

Qualcomm Inc. v. Intel Corp., 6 F.4th 1256, 1263 (Fed. Cir. 2021) (the

Board should have given notice to the parties before diverging from

agreed-upon matter of claim construction); Nike, 955 F.3d at 53 (notice

and an opportunity to respond are required for the Board to raise issues

sua sponte). The Board did not do so. That failure requires a remand.

See Qualcomm, 6 F.4th at 1262-63.

     Second, the APA requires the Board to “provide an adequate

ground” for its decisions. Power Integrations, 797 F.3d at 1325 (quoting

In re Thrift, 298 F.3d 1357, 1366 (Fed. Cir. 2002)). This Court has

explained that the Board fails to satisfy this obligation when it

misapprehends or ignores the parties’ arguments and instead “focuse[s]

on a red herring.” See id. (the Board spent “a significant portion of [its]

opinion … rejecting an argument that [one party] not only never made,

but instead expressly disavowed”). That is the case here. “Because so

much”—indeed all—of the “[B]oard’s analysis is focused on a red

herring”— Dr. Sasián’s data-entry mistake—“it failed to adequately

evaluate” the actual dispute between the parties: whether a person of

ordinary skill would have been motivated to scale Kawamura and



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Ogata despite alleged practical concerns like manufacturing tolerances

of scaled-down lenses, and instead chosen a more modern miniature

lens design. Id. At best, the Board’s decision is “incomplete” due to its

“fail[ure] to address key arguments and issues properly before it.”

Google, 753 F. App’x at 895. “[T]he appropriate course of action” in this

situation “is to vacate and remand the findings for further

consideration.’” Id.; see also Power Integrations, 797 F.3d at 1325.

     C.    Alternatively, the dispositive weight the Board
           afforded Dr. Sasián’s mistake is not supported by
           substantial evidence, also requiring a remand.

     The Board’s sole reliance on Dr. Sasián’s mistake to hold claims

19-22 not unpatentable is unsupported by substantial evidence in two

distinct ways. First, the Board was itself mistaken in characterizing as

error certain aspects of Dr. Sasián’s analysis not identified as such by

Corephotonics. § II.B.1. The only true error was the Abbe number

data-entry mistake Corephotonics identified, but the Board’s conclusion

that the error undermines Apple’s obviousness argument is not

supported by substantial evidence, as it has no basis in any expert

testimony or record evidence. § II.B.2.




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            1.    Some supposed errors identified by the Board
                  were not errors at all.

      Corephotonics identified only one error—the Abbe number

mistake—in Dr. Sasián’s Zemax analysis. Appx932. The Board,

however, purported to find “[a] few” additional “inconsistencies” and

“discrepancies” in that analysis. Appx39; Appx41 n.10. The Board was

wrong. Its erroneous finding reveals a fundamental misunderstanding

of the Zemax scaling analysis—a predictable result of a sua sponte

scientific criticism unguided by adversarial presentation of the relevant

scientific principles.

      The additional discrepancies the Board identified all involved

“aspherical surface[]” data. See Appx39 (claiming “the data for the

fourth and tenth aspherical surfaces are noticeably different” between

the Ogata prescription data and Dr. Sasián’s Figure 3C). The Ogata

aspherical surface coefficients are as follows:




Appx3660 (7:53-62).



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     Dr. Sasián’s aspherical surface coefficients from his Figure 3C are

below, with the data for the 4th aspheric surface on top and the data for

the 10th aspheric surface on the bottom. What Dr. Sasián lists as “4th

Order Term” is “A4” in the Ogata prescription data, and so on.




Appx2733.

     It is true that these numbers don’t match. But they are not

supposed to match. The Zemax manual specifically explains that the

“polynomial coefficient[]” for “the Even Aspheric surface” “ha[s] units

that change from term to term” rather than scaling by a factor of X or

remaining constant; Zemax “accounts for this” automatically “when

scaling the data.” Appx3014.

     Figure 3C contains the scaled data for the Ogata lens, meaning

the output from Zemax. Appx2718-2719. Thus, the aspherical surface

coefficients in Figure 3C should not be the same as the ones from


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Ogata’s embodiment 1, nor should they be scaled by a factor of 6.

Appx3014. Instead, Zemax has already “accounted for” the appropriate

scaling adjustment. That is why Corephotonics did not identify the

aspherical surface coefficient variation between Ogata Embodiment 1

and Dr. Sasián’s Figure 3C as an error—because it is not an error. The

same is true with respect to the “inconsistency” the Board footnoted

with respect to the Kawamura lens prescription data. See Appx41 n.10.

The Board’s contrary conclusion is not supported by substantial

evidence.

     Even if the Board had identified an error that Corephotonics

missed—which it did not—any mistake with respect to the aspherical

surface coefficients is immaterial for the reasons that follow.

             2.    Dr. Sasián’s Abbe number mistake does not
                   undermine Apple’s showing of obviousness.

     While the Abbe number mistake identified by Corephotonics is a

genuine data-entry error, the Board was wrong to conclude the error

fatally undermined Dr. Sasián’s credibility or Apple’s arguments on

obviousness. No expert testimony or record evidence supports that

result.




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     The Board justified its conclusion primarily on the ground that, in

its view, Apple’s scaling argument was “entirely based on Dr. Sasián’s

opinion, which is based on Dr. Sasián’s lens design software analysis.”

Appx40. This is simply incorrect. Apple’s petition is also “[b]ased on”

and supported by Smith’s Modern Lens Design textbook, which explains

that “[a] lens prescription can be scaled to any desired focal length

simply by multiplying all of its dimensions by the same constant.”

Appx753 (quoting Appx2678). Corephotonics never contested that

Smith independently supports Apple’s contention that Ogata’s lens may

scaled for use in Parulski’s digital camera. In sum, Apple’s scaling

argument is not entirely based on Dr. Sasián’s Zemax analysis, and so a

data-entry error in that Zemax analysis does not undercut the entire

argument.

     That leads to the second error: The Board claimed that Dr.

Sasián’s error “call[s] into question Petitioner’s contention that a person

skilled in the art would have known that Ogata’s lens could be scaled to

work in Parulski’s camera with a reasonable expectation of success.”

Appx40. To reiterate, Corephotonics never argued that Dr. Sasián’s

error cast any doubt whatsoever on Apple’s argument that Ogata’s lens



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may be successfully scaled to fit Parulski. See supra at 59. The fact

that lenses can be scaled is clear in prior art like Smith. See supra at

68. Corephotonics’s argument was solely based on whether a person of

ordinary skill would have expected that a scaled-down version of

Ogata’s lens would be manufacturable—which has nothing to do with

Dr. Sasián’s Zemax analysis.

     A close look at that analysis reveals exactly that. Dr. Sasián

concluded that Ogata “scaled for a 1/2.5” image sensor” “would have

maintained the same field of view (FOVw) of 63.4 degrees and f-number

of 2.9 but would have had a lower focal length (EFL) of 5.82 mm and a

total track length (TTL) of 6.892 mm as a result of the scaling.”

Appx754 (citing Appx2718). Corephotonics did not claim that a

typographical error inputting the Abbe number would affect any of

these numbers, nor did the Board. The lens properties (“field curvature,

distortion and OPD fan plots”) that Corephotonics claims are “not

accurately reflect[ed]” in Figure 3B in the Appendix of Dr. Sasián’s

declaration due to the Abbe number mistake are mentioned nowhere in

Apple’s petition or Corephotonics’s nonobviousness argument. See, e.g.,

Appx753-755; supra at 59.



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     The only support the Board purports to identify for its conclusion

that the mistake was material to Apple’s argument is Dr. Moore’s

opinion “that ‘[a] significant change in the index of refraction or the

Abbe number can change a highly performing lens design into an

unacceptable design.’” Appx39 (quoting Appx4812). That statement in

Dr. Moore’s declaration has nothing to do with Dr. Sasián’s mistake;

indeed, it comes about 50 paragraphs after Dr. Moore identifies that

mistake. What Dr. Moore is instead discussing in paragraph 88 of his

declaration is using plastic instead of glass in a lens design: He opines

that substituting one lens material for another in a given lens design

can affect lens performance. Appx4811-4812. Of course, in his Zemax

analysis, Dr. Sasián was not actually recommending altering the Ogata

lens design to use a material with a different Abbe number. He simply

made a mistake entering data into a spreadsheet. None of the data

affected by that error was cited by either party as relevant to the

viability or impossibility of scaling down Ogata’s wide-angle lens for use

in Parulski’s digital camera. In sum, this paragraph of Moore’s

declaration is inapposite and does not support the Board’s conclusion.




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     Finally, the Board tried to place blame on Apple, claiming that

once Corephotonics identified Dr. Sasián’s error, “the burden of

production [shifted] to Petitioner to either correct its analysis or explain

why the Abbe number discrepancy did not affect the analysis.” Appx41

(citing Dynamic Drinkware, LLC v. Nat’l Graphics, Inc., 800 F.3d 1375,

1379 (Fed. Cir. 2015)); see also supra at 62. The shifting burden of

production described in Dynamic Drinkware is, at its core, about a

party’s obligation to respond to the other side’s argument. 800 F.3d at

1379-80. As explained above, Corephotonics’s arguments about

obviousness had nothing to do with Dr. Sasián’s mistake. See supra at

57-61. Apple responded at length to those arguments in its reply—

meeting its burden of production on the material dispute between the

parties. Appx1026-1036. It did not fail to meet its burden of production

simply because its reply brief did not address Dr. Sasián’s data-entry

error, which neither party deemed consequential. So this factor, too,

fails to support the Board’s conclusion.

     In sum, the Board’s sua sponte conclusion that a single data-entry

mistake fatally undermined Apple’s obviousness argument is




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unsupported by substantial evidence. A remand is required for the

Board to resolve the parties’ actual dispute.

                             CONCLUSION

     For the foregoing reasons, this Court should reverse or remand

the -905 IPR, and remand the -906 IPR.

                                        Respectfully submitted,
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June 24, 2022




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                                     ADDENDUM

Final Written Decision, No. IPR 2020-00905,
  Paper No. 51, filed November 8, 2021 ......................................... Appx1

Final Written Decision, No. IPR 2020-00906,
  Paper No. 54, filed November 8, 2021 ....................................... Appx25

U.S. Patent No. 10,225,479 ............................................................ Appx52
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Trials@uspto.gov                                             Paper 51
571-272-7822                                 Entered: November 8, 2021


       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                           APPLE, INC.,
                            Petitioner,

                                 v.
                      COREPHOTONICS LTD.,
                          Patent Owner.


                          IPR2020-00905
                        Patent 10,225,479 B2



Before BRYAN F. MOORE, JOHN F. HORVATH, and
MONICA S. ULLAGADDI, Administrative Patent Judges.
HORVATH, Administrative Patent Judge.


                            JUDGMENT
                        Final Written Decision
            Determining No Challenged Claims Unpatentable
                          35 U.S.C. § 318(a)




                               Appx1
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IPR2020-00905
Patent 10,225,479 B2
                            I.   INTRODUCTION
      A. Background and Summary
      Apple, Inc. (“Petitioner”) filed a Petition requesting inter partes
review of claims 1–16, 18, 23–38, and 40 (“the challenged claims”) of
U.S. Patent No. 10,225,479 B2 (Ex. 1001, “the ’479 patent”). Paper 3
(“Pet.”), 9. Corephotonics Ltd. (“Patent Owner”) filed a Preliminary
Response. Paper 8 (“Prelim. Resp.”). Upon consideration of the Petition
and Preliminary Response, we instituted inter partes review of all
challenged claims on all grounds raised. Paper 10 (“Dec. Inst.”).
      Patent Owner filed confidential (Paper 15) and public (Paper 39)
versions of its Response to the Petition. See Paper 39 (“PO Resp.”).1
Petitioner filed confidential (Paper 24) and public (Paper 40) versions of a
Reply. See Paper 40 (“Pet. Reply”). Patent Owner filed a Sur-Reply. See
Paper 32 (“PO Sur-Reply”). An oral hearing was held on August 12, 2021,
and the hearing transcript is included in the record. See Paper 49 (“Tr.”).
      We have jurisdiction under 35 U.S.C. § 6(b). This is a Final Written
Decision under 35 U.S.C. § 318(a) and 37 C.F.R. § 42.73. For the reasons
set forth below, we find Petitioner has failed to show by a preponderance of
evidence that claims 1–16, 18, 23–38, and 40 of the ’479 patent are
unpatentable on the grounds raised in the Petition.




1
  Unless otherwise noted, we cite to the public versions of the papers in this
proceeding. Earlier public versions of Patent Owner’s Response (Paper 16)
and Petitioner’s Reply (Paper 23) were rejected for redacting more
information than needed to protect Patent Owner’s confidentiality interest.
See Paper 30, 7–8; Paper 31, 3–4.

                                       2

                                    Appx2
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IPR2020-00905
Patent 10,225,479 B2
            B. Real Parties-in-Interest
            Petitioner and Patent Owner identify themselves, respectively, as the
real parties-in-interest. Pet. 1; Paper 5, 1.
            C. Related Matters
            Petitioner and Patent Owner identify Corephotonics Ltd. v. Apple Inc.,
5:19-cv-04809 (N.D. Cal.), as a district court proceeding that can affect or
be affected by this proceeding, and Petitioner also identifies IPR2020-00906
as an inter partes review that can affect or be affected by this proceeding.
Pet. 1; Paper 5, 1. In addition, we note that the ’479 patent is part of a
family of patents and patent applications that include at least U.S. Patent
Nos. 10,326,942; 10,015,408; 9,661,233; and 9,185,291. Ex. 1001, code
(63). Many of these patents were or currently are involved in inter partes
review proceedings that could affect or be affected by a decision in this
proceeding.
            D. Evidence Relied Upon 2
    Reference                                         Effective Date     Exhibit
    Parulski             US 7,859,588 B2              Dec. 28, 2010      1005
    Richard Szeliski, Computer Vision
    Algorithms and Applications, 468–503              2011               1013
    (2011) (“Szeliski”)
    Konno3               JP 2013/106289 A             May 30, 2013       1015
    Stein                    US 8,908,041 B2          Feb. 7, 2013   4
                                                                         1023

2
  Petitioner also relies upon the Declarations of Fredo Durand, Ph.D. (Exs.
  1003, 1038) and José Sasián, Ph.D. (Ex. 1021).
3
  Konno is a certified translation of a Japanese Patent Application originally
  published in Japanese. See Ex. 1015, 34–59.
4
  Petitioner identifies Stein as prior art under 35 U.S.C. § 102(a)(2) based on
  the February 7, 2013 filing date of a provisional application to which Stein
  claims priority. See Pet. 9. Patent Owner does not dispute this. See PO
  Resp. 1–47.

                                            3

                                          Appx3
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IPR2020-00905
Patent 10,225,479 B2
 Reference                                     Effective Date          Exhibit
 Segall               US 8,406,569 B2          Mar. 26, 2013           1024
      E. Instituted Grounds of Unpatentability
      We instituted review on the following grounds:
 Ground     Claims           35 U.S.C. §                References
 1      1, 10–14, 16,
        18, 23, 32–36,       103(a)         Parulski, Konno
        38, 40
 2      2–4, 24–26           103(a)         Parulski, Konno, Szeliski
 3      5–9, 27–31           103(a)         Parulski, Konno, Szeliski, Segall
 4      15, 37               103(a)         Parulski, Konno, Stein
                               II. ANALYSIS
      A. The ’479 Patent
      The ’479 patent is directed to “a thin (e.g., fitting in a cell-phone)
dual-aperture zoom digital camera with fixed focal length lenses” that is
configured to use “partial or full fusion to provide a fused image in still
mode.” Ex. 1001, 3:18–23. Figure 1A, reproduced below, illustrates a dual-
aperture zoom digital camera 100.




Figure 1A is a “block diagram illustrating a dual-aperture zoom” digital
camera 100. Id. at 5:64–65. Camera 100 includes a wide imaging


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subsystem consisting of wide lens 102, wide sensor 104, and wide image
signal processor (“ISP”) 106, and a tele imaging subsystem consisting of tele
lens 108, tele sensor 110, and tele ISP 112. Id. at 6:24–29.
      Camera 100 also includes controller 114, which includes sensor
control 116, user control 118, video processing module 126 and still
processing module 128. Id. at 6:33–37. User control 118 controls various
camera functions, including, operational mode 120, region of interest
(“ROI”) 122, and zoom factor (“ZF”) 124. Id. at 6:38–40. Zoom factor 124
allows a user “to choose a zoom factor.” Id. at 6:50–51. Sensor control 116
chooses “which of the sensors is operational” based on the selected zoom
factor. Id. at 6:41–45. ROI function 122 allows a user to “choose a region
of interest,” i.e., a sub-region “on which both sub-cameras are focused.” Id.
at 6:46–50.
      The dual lenses allow camera 100 to take an image having a shallow
depth-of-field (“DOF”) “by taking advantage of the longer focal length of
the Tele lens.” Id. at 4:23–27. The image taken with the Tele lens can be
enhanced “by fusing data from an image captured simultaneously with the
Wide lens.” Id. at 4:27–30. For example, the Tele lens can focus “on a
subject of the photo” and the Wide lens can focus on “a closer distance than
the subject so that objects behind the subject appear very blurry.” Id. at
4:30–34. Then, a shallow depth-of-field image can be formed when
“information from the out-of-focus blurred background in the Wide image is
fused with the original Tele image background information, providing a
blurrier background and even shallower DOF.” Id. at 4:34–38.
      The process for fusing images taken with the Wide and Tele lenses is
shown in Figure 5 of the ’479 patent, which is reproduced below.



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Figure 5 is a flow chart depicting a method for acquiring a zoom image in a
dual lens camera. Id. at 9:39–40. At step 502, separate images are captured
by each of the Wide and Tele lenses. Id. at 9:40–44. At step 504, these
images are aligned on an epipolar line. Id. at 9:46–47. At step 506, a
registration map is generated. Id. at 9:47–49. At step 508, the registration
map is used to resample the Tele image. Id. at 9:50–51. At step 510, Tele
image pixel values are compared to Wide image pixel values, and if a
significant difference is detected, the Wide image pixel values are chosen for
the output image. Id. at 9:51–58. Finally, at step 512, a fused image is
generated from the re-sampled Tele image and the Wide image. Id. at 9:58–
60. The ’906 patent discloses that by “register[ing] Tele image pixels to a
matching pixel set within the Wide image pixels, . . . the output image will
retain the Wide POV” or point-of-view. Id. at 5:23–26.
      B. Illustrative Claims
      Of the challenged claims, claims 1 and 23 are independent and
substantially similar in scope. Claim 1 recites a dual-aperture digital camera
configured to generate a fused image from images taken with wide angle and
telephoto lenses, and claim 23 recites a method for generating such a fused
image using a dual-aperture digital camera. Compare Ex. 1001, 13:22–50,
with id. at 15:49–67. The remaining challenged claims depend directly or
indirectly from claims 1 or 23. Claim 1 is illustrative of the challenged
claims and is reproduced below.
      1. A dual-aperture digital camera for imaging an object or
         scene, comprising:
      a) a Wide camera comprising a Wide lens and a Wide image
          sensor, the Wide camera having a respective field of view




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         FOVW and being operative to provide a Wide image of the
         object or scene;
      b) a Tele camera comprising a Tele lens and a Tele image
         sensor, the Tele camera having a respective field of view
         FOVT narrower than FOVW and being operative to provide a
         Tele image of the object or scene, wherein the Tele lens has
         a respective effective focal length EFLT and total track
         length TTLT fulfilling the condition EFLT / TTLT > 1;
      c) a first autofocus (AF) mechanism coupled mechanically to,
          and used to perform an AF action on the Wide lens;
      d) a second AF mechanism coupled mechanically to, and used
         to perform an AF action on the Tele lens; and
      e) a camera controller operatively coupled to the first and
          second AF mechanisms and to the Wide and Tele image
          sensors and configured to control the AF mechanisms and to
          process the Wide and Tele images to create a fused image,
         wherein areas in the Tele image that are not focused are not
         combined with the Wide image to create the fused image
         and
         wherein the camera controller is further operative to output
         the fused image with a point of view (POV) of the Wide
         camera by mapping Tele image pixels to matching pixels
         within the Wide image.
Id. at 13:22–50.
      C. Level of Ordinary Skill in the Art
      Petitioner identifies a person of ordinary skill in the art (“POSITA”) at
the time of the invention as someone that would have had “a bachelor’s or
the equivalent degree in electrical and/or computer engineering or a related
field and 2-3 years of experience in imaging systems including image
processing and lens design.” Pet. 6 (citing Ex. 1003 ¶ 13). In our Institution
Decision, we adopted this description as our own. See Dec. Inst. 11–12.




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Neither party disputes that preliminary finding, which we maintain for
purposes of this decision. See PO Resp. 3–4; Pet. Reply 1–27.
      D. Claim Construction
      In inter partes reviews, we interpret a claim “using the same claim
construction standard that would be used to construe the claim in a civil
action under 35 U.S.C. 282(b).” 37 C.F.R. § 42.100(b) (2019). Under this
standard, a claim is construed “in accordance with the ordinary and
customary meaning of such claim as understood by one of ordinary skill in
the art and the prosecution history pertaining to the patent.” Id. Only claim
terms which are in controversy need to be construed and only to the extent
necessary to resolve the controversy. See Nidec Motor Corp. v. Zhongshan
Broad Ocean Motor Co., 868 F.3d 1013, 1017 (Fed. Cir. 2017).
      In the Institution phase of this proceeding, Petitioner proposed a
construction for a “fused image with a point of view (POV) of the Wide
camera,” which Patent Owner did not dispute. See Dec. Inst. 12. Therefore,
we declined to expressly construe that or any other claim term. Id. In the
current phase of this proceeding, Patent Owner disputes Petitioner’s
proposed construction for this term and argues Petitioner has failed to
demonstrate how this limitation is met when it is properly construed. See
PO Resp. 8–13, 29–31. Accordingly, we construe this term.
      1. Fused Image with a Point of View (POV) of the Wide Camera
      Petitioner contends this term means “a fused image that maintains the
Wide camera’s field of view or the Wide camera’s position.” Pet. 8
(emphasis omitted). Patent Owner contends it means a “fused image in
which the positions and shapes of objects reflect the POV of the Wide
camera.” PO Resp. 13. Petitioner responds that Patent Owner’s
construction is unhelpful because it “fails to provide any meaning to the

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construed term ‘point of view (POV).’” Pet. Reply 1. Petitioner also
provides an alternative construction that the term means a “fused image in
which the positions or shapes of objects reflect those of the Wide camera.”
Id. at 6 (emphasis omitted). Patent Owner replies that this latter construction
is new and improper and also incorrect because it “ignores that the [step of]
registering pixels to matching pixels will necessarily address both position
(shift) and perspective (shape).” PO Sur-Reply 2–3.
      To resolve the parties’ dispute, we turn to the Specification. See
Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996)
(“[T]he specification is always highly relevant to the claim construction
analysis. Usually, it is dispositive; it is the single best guide to the meaning
of a disputed term.”). In relevant part, the Specification discloses:
      In a dual-aperture camera image plane, as seen by each sub-
      camera (and respective image sensor), a given object will be
      shifted and have different perspective (shape). This is referred
      to as point-of-view (POV). The system output image can have
      the shape and position of either sub-camera image or the shape
      or position of a combination thereof. If the output image retains
      the Wide image shape then it has the Wide perspective POV. If
      it retains the Wide camera position then it has the Wide position
      POV. The same applies for Tele images position and
      perspective. As used in this description, the perspective POV
      may be of the Wide or Tele sub-cameras, while the position
      POV may shift continuously between the Wide and Tele sub-
      cameras. In fused images, it is possible to register Tele image
      pixels to a matching pixel set within the Wide image pixels, in
      which case the output image will retain the Wide POV ("Wide
      fusion").
Ex. 1001, 5:10–26.
      Petitioner argues this disclosure supports its construction because it
means “‘a point of view of the Wide camera’ . . . can mean one of two
things—either ‘Wide perspective POV’ (i.e., wide camera FOV) or ‘Wide

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position POV’ (i.e., wide camera position).” Pet. 7 (citing Ex. 1003 ¶ 31).
Patent Owner argues this disclosure teaches a camera’s point-of-view
“depends on the position and orientation of the camera” and “using a camera
with a different POV can both shift an object (change its position in the
image) and change the perspective of an object (change[] its apparent shape
in the image).” PO Resp. 12 (citing Ex. 2001 ¶ 43). Thus, when the ’479
patent refers to “Wide POV” it “is referring to the complete Wide POV, both
perspective and position.” Id. at 13 (citing Ex. 2001 ¶ 45).
      We agree with Patent Owner. Although it is not a model of clarity,
the Specification equates a camera’s POV with how an object will appear in
that camera’s image plane, e.g., in an image taken from that camera. For
example, it discloses that “a given object will be shifted and have different
perspective (shape). This is referred to as point-of-view (POV).” Ex. 1001,
5:10–12. Thus, the position and perspective (shape) of an object in an image
depends on the POV of the camera that took the image.
      The Specification further discloses that a fused image 5 that “retains
the Wide image shape . . . has the Wide perspective POV” and a fused image
that “retains the Wide camera position . . . has the Wide position POV.” Id.
at 5:15–18. Moreover, a fused image’s “perspective POV may be of the
Wide . . . sub-camera[], while the position POV may shift . . . between the
Wide and Tele sub-cameras.” Id. at 5:20–23. Thus, a fused image may have
the Wide perspective POV and either (a) the Wide position POV, (b) the
Tele position POV, or (c) an intermediate position POV. This suggests that
a fused image has a Wide POV when it has both a Wide perspective POV


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 A “fused” image is one that “combine[s] in still mode at least some of the
Wide and Tele image data.” Ex. 1001, 4:49–51.

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and a Wide position POV. If the fused image did not have a Wide position
POV it could only be described as having a Wide perspective POV, not a
Wide POV.
      Figure 5 of the ’479 patent, which is the only Figure that describes a
method for generating a fused image, further suggests that a fused image has
a Wide POV when it has both a Wide perspective POV and a Wide position
POV. The method begins by aligning Wide and Tele images on an epipolar
line and “mapping between the Wide and Tele aligned images . . . to produce
a registration map.” Id. at 9:46–49. Next, after a re-sampling step, “the re-
sampled Tele image and the Wide image are processed to detect errors in the
registration.” Id. at 9:49–54. When an error is detected—i.e., when the
“Tele image data is compared with the Wide image data and . . . the
comparison detects significant dissimilarities”—the “Wide pixel values are
chosen to be used in the output image.” Id. at 9:54–58. Thus, the fused
image contains only information from (a) the Wide image and (b) the Tele
image that matches information from the Wide image. The fused image
contains no information from the Tele image that differs from information
from the Wide image, e.g., information representing the different “shape” of
an object when photographed from the POV of the Tele camera. As stated
in the Specification, the process of “register[ing] Tele image pixels to a
matching pixel set within the Wide image pixels . . . will retain the Wide
POV.” Id. at 5:23–26 (emphasis added).
      For the reasons discussed above, we agree with Patent Owner that a
fused image having a Wide POV means a fused image in which the positions
and shapes of objects reflect the POV of the Wide camera. Accordingly, we
construe a fused image having a Wide POV to mean “a fused image having
a Wide perspective POV and a Wide position POV.”

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      E. Ground 1
      Petitioner argues claims 1, 10–14, 16, 18, 23, 32–36, 38, and 40 are
unpatentable as obvious over Parulski and Konno. See Pet. 10–41. Patent
Owner disputes this. See PO Resp. 26–31, 35–47. For the reasons discussed
below, Petitioner has failed to establish by a preponderance of evidence that
claims 1, 10–14, 16, 18, 23, 32–36, 38, and 40 are unpatentable as obvious
over Parulski and Konno.
      1. Parulski
      Parulski discloses “a digital camera that uses multiple lenses and
image sensors to provide an improved imaging capability.” Ex. 1005, 1:8–
10. A schematic illustration of Parulski’s camera is shown in Figure 1,
which is reproduced below.




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with a first image sensor, and a second zoom lens with a second image
sensor.” Id. at 8:28–30.
      The camera includes “two imaging stages 1 and 2, both with zoom
lenses 3 and 4.” Id. at 12:42–43. “[Z]oom lens 3 is controlled by a first lens
focus adjuster, e.g., zoom and focus motors 5a, and provides an image to a
first image sensor 12.” Id. at 12:47–49. “[Z]oom lens 4 is controlled by a
second lens focus adjuster, e.g., zoom and focus motors 5b, and provides an
image to a second image sensor 14.” Id. at 12:49–52. Each of zoom lenses
3 and 4 could be “replaced with a fixed focal length lens.” Id. at 13:3–6.
Image sensors 12 and 14 can “have a variety of aspect ratios” and “do not
have to have the same specifications.” Id. at 13:26–32. “[C]ontrol processor
and timing generator 40 [CPT 40] controls the first image sensor 12 . . . the
second image sensor 14” and “the zoom and focus motors 5a and 5b.” Id. at
13:37–42. Analog data from image sensors 12 and 14 are digitized by
analog signal processors 22 and 24, respectively, and the digitized data is
supplied to each of multiplexers 34 and 36. Id. at 13:48–59. CPT 40
controls multiplexer 34 to select digitized data from either sensor 12 or 14 as
an image signal and controls multiplexer 36 to select digitized data from the
other of sensors 12 or 14 as an autofocus image signal. Id. at 14:1–5. Image
processor 50 processes the digitized data from multiplexer 34 to produce a
digital image and processes the digitized data from multiplexer 36 to
calculate “focus detection signals that drive the first and second focus
adjusters, that is, the zoom and focus motors 5a and 5b.” Id. at 14:15–16.
      Parulski’s dual-lens camera can be used to generate a distance or
range map as illustrated in Figure 11, which is reproduced below.




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Figure 11 is a flow chart showing a method for processing images captured
with a two-lens camera to generate a distance or range map. Id. at 19:49–51.
At step 440, “a first autofocus image is captured with the lower focal length
image capture stage,” e.g., lens 3 and image sensor 12. Id. at 20:1–3. At
step 442, this image is “cropped and upsampled so that corresponding
features in the two autofocus images span the same number of pixels.” Id. at
20:3–6. At step 448, “a second autofocus image is captured with the higher
focal length image capture stage,” e.g., lens 4 and image sensor 14. Id. at
20:6–8. At step 480, “the second autofocus image is correlated with the
cropped and upsampled image to determine the pixel offset between the
images for different portions of the images.” Id. at 20:8–11. At step 482,
these pixel offsets are “converted . . . to distances from the image capture
device using the autofocus rangefinder calibration curve.” Id. at 20:11–14.
Finally, at step 484, a distance or range map is produced “showing the
distances to different portions of the images.” Id. at 20:14–15.

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      Parulski’s range map can be “used to modify the captured image
signal or the output image for a variety of purposes,” including “to enable
dynamic depth of field images by blurring of portions of the image that
correspond to areas of the scene that lie outside of the desired depth of
field.” Id. at 20:51–53, 20:63–65. For example, the range map can be used
to modify a picture having a dog in the foreground, a field of flowers in the
mid-ground, and a mountain range in the background. Id. at 21:7–17. “[I]f
the user really wants to emphasize the dog more than the beautiful scenery,
the range data can be used to isolate the mountains and the flowers, which
can then be blurred.” Id. at 21:27–30.
      2. Konno
      Konno discloses “an imaging apparatus . . . [that] includes single-
focus first and second imaging optical systems that face the same direction.”
Ex. 1015 ¶ 7. Such a system is shown, for example, in Figure 21 of Konno,
which is reproduced below.




Figure 21 of Konna is “a schematic view . . . of digital equipment [e.g., a
digital camera] including first and second imaging optical units.” Id. ¶ 18.
The digital camera includes optical units LU1 and LU2, which include

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“single-focus first and second imaging optical systems [i.e., lenses] LN1 and
LN2 . . . for forming optical images” and “first and second imaging devices
[i.e., sensors] SR1 and SR2 for converting the optical images . . . into
electrical signals.” Id. ¶ 48. The camera also includes “a signal processing
unit 1, a control unit 2, a memory 3, an operation unit 4, and a display unit
5.” Id. ¶ 54. Control unit 2 “controls various functions including . . . a lens
moving mechanism.” Id. “[T]he first and second imaging optical systems
[i.e., lenses] LN1 and LN2 have different focus movements in the case of
whole feeding.” Id. ¶ 50. Various characteristics of lenses LN1 and LN2
(e.g., focal length, lens length, field of view) are disclosed in Table 1 of
Konno. Id. ¶ 76.
      3. Reasons to Combine
      Petitioner argues that it would have been obvious to combine the
teachings of Parulski and Konno because “Parulski does not provide lens
prescription data for either the first [wide] or second [tele] fixed-focus lenses
in its cell phone” camera. Pet. 16. Thus, Petitioner argues, a skilled artisan
“would have looked to Konno which provides a fixed-focal length, dual-lens
system designed for digital equipment like cell phones.” Id. at 16–17 (citing
Ex. 1003 ¶ 57). Petitioner argues a person skilled in the art would have
looked to Konno for lens prescription data because “Konno’s system offers
fixed-focal length wide and telephoto lenses in a thin format for
incorporation in a mobile device,” and “Parulski teaches the importance of
keeping the ‘z’ dimension (i.e., thickness) of its cell phone embodiment
small.” Id. at 17; Ex. 1005, 24:20–27; Ex. 1015 ¶ 46. Patent Owner does
not dispute these contentions. See PO Resp. 26–35.
      We find Petitioner sets forth sufficient reasoning with rational
underpinning to combine the teachings of Parulski and Konno. Parulski

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teaches a cell phone having a dual-lens camera and the need to have thin
lenses, but fails to give lens prescription data for the two camera lenses.
Konno discloses lens prescription data for a dual-lens camera utilizing two
thin lenses. The combination, therefore, is one of familiar elements
according to known methods to obtain predictable results or a substitution of
one element for another known in the field to obtain a predictable result. See
KSR Int’l Co. v. Teleflex, Inc., 550 U.S. 398, 416 (2007).
      4. Claims 1 and 23
      Claim 1 recites a dual-aperture digital camera having a Wide camera
for providing a Wide image, a Tele camera for providing a Tele image, and a
camera controller configured to process the Wide and Tele images to create
a fused image. Ex. 1001, 13:22–34, 13:40–46. Claim 23 recites a method
for acquiring a Wide image with a Wide sensor and a Tele image with a Tele
sensor, and processing the Wide and Tele images to create a fused image.
Id. at 15:49–64.
      Figure 16A of Parulski discloses a dual-aperture camera having an
assembly 610 that includes “a first fixed focal length lens 612 and a first
image sensor 614, and a second fixed focal length lens 616 and a second
image sensor 618,” where “[t]he first lens 612 [is] preferably a fixed focal
length wide angle lens . . . and the second lens 616 [is] preferably a fixed
focal length telephoto lens.” Ex. 1005, 23:28-40. Figure 14 of Parulski
discloses “a method for enhancing the depth of field of an image by using
images from both image capture stages,” i.e., from the wide and tele lenses.
Id. at 22:14–16. After capturing images from each of the wide and telephoto
lenses, Parulski “combine[s] [them] into a modified image with a broadened
depth of field.” Id. at 28:45–53 (emphasis added).



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      Claim 1 further requires the camera controller to create and output the
fused image with a point of view (POV) of the Wide camera by mapping
Tele image pixels to matching pixels in the Wide image. Ex. 1001, 13:46–
50. Claim 23 further requires the method of creating a fused image to
include outputting the fused image with a point of view (POV) of the Wide
camera by mapping Tele image pixels to matching pixels within the Wide
image. Id. at 15:65–67.
      To meet these limitations, Petitioner relies on several different
disclosures in Parulski. See Pet. 26–30, 39, 40. For example, Parulski
discloses modifying the depth of field of an image containing a dog in the
foreground, a field of flowers in the mid-ground, and a snow-capped
mountain in the background so that “the dog is in focus, the mountains are in
focus and so are those great flowers.” Ex. 1005, 21:9–13, 21:25–27. This is
be done by combining information from two images, where one image “is
captured . . . at one focus position [e.g., wide angle] and another image is
captured . . . at another focus position [e.g., tele photo].” Id. at 28:45–53.
The information to be combined can be obtained from the wide and tele
images using a range map, which “improve[s] object identification within
[an] image by identifying the continuous boundaries of the object so [its]
shape . . . can be defined” and “enable[s] object extraction from an image by
identifying the continuous boundaries of the object so it can be segmented
within the image.” Id. at 20:51–59. Petitioner argues that from these
disclosures a person skilled in the art:
      would have understood that creating an enhanced image with
      both the mountains and the dog in focus would have meant that
      the pixel[s] corresponding to the dog from the telephoto image
      would have been identified by the range mapping process and
      then fused with the corresponding pixels in the wide image so


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      that the dog would be sharpened in the wide image while
      maintaining the mountains in focus, thus broadening the wide
      image’s depth of field.
Pet. 28 (citing Ex. 1003 ¶ 50).
      Petitioner further argues Parulski’s image fusing process maps Tele
image pixels with matching pixels within the Wide image, as required by
claims 1 and 23, because “Parulski’s range map is generated by matching
pixels from the telephoto image to matching pixels in the wide image.” Id.
at 30 (citing Ex. 1005, 20:1–15). Moreover, Petitioner argues, a person
skilled in the art “would have understood that fusing portions of the
telephoto image with the wide image . . . would have otherwise maintained
the wide image, therefore outputting a fused image with the wide image’s
field of view.” Id. at 29 (citing Ex. 1003 ¶¶ 50–51). That is, Petitioner
argues that identifying and extracting pixels corresponding to the dog from
the Tele image and fusing them with pixels corresponding to the dog from
the Wide image would generate a fused image having the point of view
(POV) of the Wide image because the resulting image would have the field
of view (FOV) of the Wide image.
      Patent Owner argues that Petitioner and Dr. Durand have failed to
demonstrate that Parulski teaches “the ‘fused image with a point of view
(POV) of the Wide camera’ limitation” because their “sole argument that
Parulski meets this limitation is based on the output [image] having the
‘wide image’s field of view.’” PO Resp. 29 (citing Ex. 1003 ¶ 51). Patent
Owner further argues that “[n]othing in Parulski suggests that whatever
image data from the tele image that might be ‘fused’ into the output would
be modified to have the shapes and positions from the wide image POV” and
“nothing in Dr. Durand’s declaration even attempts to establish [that] this



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would be true.” Id. at 30. Lastly, Patent Owner argues that Dr. Durand
admitted during his deposition that he had not provided an opinion about
whether Parulski generates a fused image having both a Wide perspective
POV and a Wide position POV. See PO Sur-Reply 5 (citing Ex. 2041,
52:25–54:20).
      We agree with Patent Owner. As we explain in § II.D.1, supra,
claims 1 and 23 require generating a fused image having a Wide perspective
POV and a Wide position POV. Petitioner’s only argument for how the
combination of Parulski and Konno teaches this limitation is Parulski’s
teaching of generating a fused image having a Wide position POV, i.e.,
having the field of view (FOV) of the Wide camera. See Pet. Reply 13
(“Parulski teaches . . . producing an output image that maintains the Wide
position POV or the field of view of the Wide camera when the image was
captured.”). Petitioner fails to demonstrate how Parulski’s image fusion
method would also maintain the Wide perspective POV as required by
independent claims 1 and 23.
      Accordingly, for the reasons discussed above, Petitioner has failed to
demonstrate by a preponderance of evidence that claims 1 and 23 are
unpatentable as obvious over the combination of Parulski and Konno.
      5. Claims 10–14, 16, 18, 32–36, 38, and 40
      Claims 10–14, 16, and 18 depend, either directly or indirectly, from
independent claim 1. See Ex. 1001, 14:29–44, 50–53, 61–65. Claims 32–
36, 38, and 40 depend, either directly or indirectly, from independent claim
23. Id. at 16:41–54, 16:59–61, 17:1–4. Accordingly, for the reasons
discussed in § II.E.4, supra, Petitioner has failed to demonstrate by a
preponderance of evidence that claims 10–14, 16, 18, 32–36, 38, and 40 are
unpatentable as obvious over the combination of Parulski and Konno.

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      F. Grounds 2–4
      Petitioner argues claims 2–4 and 24–26 are unpatentable as obvious
over Parulski, Konno, and Szeliski, claims 5–9 and 27–31 are unpatentable
as obvious over Parulski, Konno, Szeliski, and Segall, and claims 15 and 37
are unpatentable as obvious over Parulski, Konno, and Stein. See Pet. 42–
70. Patent Owner disputes this. See PO Resp. 31–47.
      Claims 2–9 and 15 depend, either directly or indirectly, from
independent claim 1. See Ex. 1001, 13:51–67, 14:1–28, 14:45–49. Claims
24–31 and 37 depend, either directly or indirectly, from independent claim
23. Id. at 16:1–40, 16:55–58. Accordingly, for the reasons discussed in
§ II.E.4, supra, Petitioner has failed to demonstrate by a preponderance of
evidence that claims 2–9, 15, 24–31, and 37 are unpatentable as obvious
over the combination of Parulski, Konno, and one or more of Szeliski,
Segall, and Stein.
                              III. CONCLUSION
      We have reviewed the Petition, Patent Owner Response, Petitioner
Reply, and Patent Owner Sur-Reply. We have considered all of the
evidence and arguments presented by Petitioner and Patent Owner, and have
weighed and assessed the entirety of the evidence as a whole. We find, on
this record, Petitioner has failed to demonstrate by a preponderance of
evidence that claims 1–16, 18, 23–38, and 40 of the ’479 patent are
unpatentable.
                                                    Claims         Claims
                                 Reference(s)
   Claims       35 U.S.C. §                         Shown       Not Shown
                                    /Basis
                                                  Unpatentable Unpatentable
 1, 10–14, 16, 103(a)          Parulski, Konno                 1, 10–14, 16,
 18, 23, 32–                                                   18, 23, 32–36,
 36, 38, 40                                                    38, 40
 2–4, 24–26    103(a)          Parulski, Konno,                2–4, 24–26

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                              Szeliski
 5–9, 27–31     103(a)        Parulski, Konno,                        5–9, 27–31
                              Szeliski, Segall
                103(a)        Parulski, Konno,
 15, 37                                                               15, 37
                              Stein
 Overall                                                              1–16, 18, 23–
 Outcome                                                              38, 40

                                  IV. ORDER
      In consideration of the foregoing, it is hereby:
      ORDERED that Petitioner has failed to show on this record that
claims 1, 10–14, 16, 18, 23, 32–36, 38, and 40 are unpatentable under
35 U.S.C. § 103(a) over Parulski and Konno; and
      FURTHER ORDERED that Petitioner has failed to show on this
record that claims 2–4 and 24–26 are unpatentable under 35 U.S.C. § 103(a)
over Parulski, Konno, and Szeliski; and
      FURTHER ORDERED that Petitioner has failed to show on this
record that claims 5–9 and 27–31 are unpatentable under 35 U.S.C. § 103(a)
over Parulski, Konno, Szeliski, and Segall; and
      FURTHER ORDERED that Petitioner has failed to show on this
record that claims 15 and 37 are unpatentable under 35 U.S.C. § 103(a) over
Parulski, Konno, and Stein; and
      FURTHER ORDERED that this Decision is final, and a party to this
proceeding seeking judicial review of the Decision must comply with the
notice and service requirements of 37 C.F.R. § 90.2.




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Trials@uspto.gov                                               Paper 54
571-272-7822                                      Date: November 8, 2021


       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                            APPLE, INC.,
                             Petitioner,

                                 v.
                      COREPHOTONICS LTD.,
                          Patent Owner.


                          IPR2020-00906
                        Patent 10,225,479 B2



Before BRYAN F. MOORE, JOHN F. HORVATH, and
MONICA S. ULLAGADDI, Administrative Patent Judges.
HORVATH, Administrative Patent Judge.


                            JUDGMENT
            Determining No Challenged Claims Unpatentable
                         35 U.S.C. § 318(a)




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                            I.    INTRODUCTION
      A.     Background and Summary
      Apple, Inc. (“Petitioner”) filed a Petition requesting inter partes
review of claims 19–22 (“the challenged claims”) of U.S. Patent No.
10,225,479 B2 (Ex. 1001, “the ’479 patent”). Paper 3 (“Pet.”), 10.
Corephotonics Ltd. (“Patent Owner”) filed a Preliminary Response. Paper 8
(“Prelim. Resp.”). Upon consideration of the Petition and Preliminary
Response, we instituted inter partes review of all challenged claims on all
grounds raised. Paper 10 (“Dec. Inst.”).
      Patent Owner filed confidential (Paper 15) and public (Paper 16)
versions of a Response to the Petition. See Paper 16 (“PO Resp.”). 1
Petitioner filed confidential (Paper 24) and public (Paper 23) versions of a
Reply. See Paper 23 (“Pet. Reply”). Patent Owner filed a Sur-Reply. See
Paper 33 (“PO Sur-Reply”). An oral hearing was held on August 12, 2021,
and the hearing transcript is included in the record. See Paper 52 (“Tr.”).
      We have jurisdiction under 35 U.S.C. § 6(b). This is a Final Written
Decision under 35 U.S.C. § 318(a) and 37 C.F.R. § 42.73. For the reasons
set forth below, we find Petitioner has failed to demonstrate by a
preponderance of evidence that claims 19–22 of the ’479 patent are
unpatentable on the grounds raised in the Petition.
      B.     Real Parties-in-Interest
      Petitioner and Patent Owner identify themselves, respectively, as the
real parties-in-interest. Pet. 1; Paper 5, 1.




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 Throughout this Decision, unless noted otherwise, we cite to the public
versions of the papers filed by the parties.

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                                    Appx26
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         C.       Related Matters
         Petitioner and Patent Owner identify Corephotonics Ltd. v. Apple Inc.,
5:19-cv-04809 (N.D. Cal.), as a district court proceeding that can affect or
be affected by this proceeding, and Petitioner also identifies IPR2020-00905
as an inter partes review that can affect or be affected by this proceeding.
Pet. 1; Paper 5, 1. In addition, we note that the ’479 patent is part of a
family of patents and patent applications that include at least U.S. Patent
Nos. 10,326,942; 10,015,408; 9,661,233; and 9,185, 291. Ex. 1001, code
(63). Many of these patents were or currently are involved in inter partes
review proceedings that could affect or be affected by a decision in this
proceeding.
         D.       Evidence Relied Upon 2
    Reference                                         Effective Date      Exhibit
    Parulski                 US 7,859,588 B2          Dec. 28, 2010       1005
    Soga 3                   JP 2007/259108 A         Oct. 4, 2007        1006
    Morgan-Mar               US 8,989,517 B2          Mar. 24, 2015       1009
    Kawamura 4               JP S5862609 A            Apr. 14, 1983       1012
    Ogata                    US 5,546,236             Aug. 13, 1996       1026

         E.       Instituted Grounds of Unpatentability
         We instituted review on the following grounds:
    Ground     Claims           35 U.S.C. §            References
      1    19, 20               103(a)      Parulski, Ogata, Kawamura, Soga

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  Petitioner also relies upon the Declarations of Fredo Durand, Ph.D.
(Exs.1003, 1038) and José Sasián, Ph.D. (Exs. 1021, 1039).
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  Soga is a non-certified translation of a Japanese Patent Application
Publication originally published in Japanese. See Ex. 1006, 18–30.
4
  Kawamura is a certified translation of an Unexamined Japanese Patent
Application Publication originally published in Japanese. See Ex. 1012, 10–
16.

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 Ground         Claims         35 U.S.C. §               References
                                              Parulski, Ogata, Kawamura,
    2        21, 22           103(a)
                                              Soga, Morgan-Mar

                                 II.   ANALYSIS
        A.     The ’479 Patent
        The ’479 patent is directed to “a thin (e.g., fitting in a cell-phone)
dual-aperture zoom digital camera with fixed focal length lenses” that is
configured to use “partial or full fusion to provide a fused image in still
mode.” Ex. 1001, 3:18–23. Figure 1A, reproduced below, illustrates dual-
aperture zoom digital camera 100.




Figure 1A is a “block diagram illustrating a dual-aperture zoom” digital
camera 100. Id. at 5:64–65. Camera 100 includes a wide imaging
subsystem consisting of wide lens 102, wide sensor 104, and wide image



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signal processor (“ISP”) 106, and a tele imaging subsystem consisting of tele
lens 108, tele sensor 110, and tele ISP 112. Id. at 6:24–29.
      Camera 100 also includes controller 114, which includes sensor
control 116, user control 118, video processing module 126 and still
processing module 128. Id. at 6:33–37. User control 118 controls various
camera functions, including, operational mode 120, region of interest
(“ROI”) 122, and zoom factor (“ZF”) 124. Id. at 6:38–40. Zoom factor 124
allows a user “to choose a zoom factor.” Id. at 6:50–51. Sensor control 116
chooses “which of the sensors is operational” based on the selected zoom
factor. Id. at 6:41–45. ROI function 122 allows a user to “choose a region
of interest,” i.e., a sub-region “on which both sub-cameras are focused.” Id.
at 6:46–50.
      The dual lenses allow camera 100 to take an image having a shallow
depth-of-field (“DOF”) “by taking advantage of the longer focal length of
the Tele lens.” Id. at 4:23–27. The image taken with the Tele lens can be
enhanced “by fusing data from an image captured simultaneously with the
Wide lens.” Id. at 4:27–30. For example, the Tele lens can focus “on a
subject of the photo” and the Wide lens can focus on “a closer distance than
the subject so that objects behind the subject appear very blurry.” Id. at
4:30–34. Then, a shallow depth-of-field image can be formed when
“information from the out-of-focus blurred background in the Wide image is
fused with the original Tele image background information, providing a
blurrier background and even shallower DOF.” Id. at 4:34–38.
      The process for fusing images taken with the Wide and Tele lenses is
shown in Figure 5 of the ’479 patent, which is reproduced below.




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                               Appx30
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Figure 5 is a flow chart depicting a method for acquiring a zoom image in a
dual lens camera. Id. at 9:39–40. At step 502, separate images are captured
by each of the Wide and Tele lenses. Id. at 9:40–44. At step 504, these
images are aligned on an epipolar line. Id. at 9:46–47. At step 506, a
registration map is generated. Id. at 9:47–49. At step 508, the registration
map is used to resample the Tele image. Id. at 9:50–51. At step 510, Tele
image pixel values are compared to Wide image pixel values, and if a
significant difference is detected, the Wide image pixel values are chosen for
the output image. Id. at 9:51–58. Finally, at step 512, a fused image is
generated from the re-sampled Tele image and the Wide image. Id. at 9:58–
60.
      B.     Illustrative Claim
      Claims 19 is the only independent claim challenged. See Ex. 1001,
14:66–15:32. Claims 20–22 depend directly or indirectly from claim 19. Id.
at 15:33–15:48. Claim 19 is illustrative of the challenged claims and is
reproduced below.
      19. A dual-aperture digital camera for imaging an object or
         scene, comprising:
      a) a Wide camera comprising a Wide lens and a Wide image
          sensor, the Wide camera having a respective field of view
          FOVW and being operative to provide a Wide image of the
          object or scene;
      b) a Tele camera comprising a Tele lens and a Tele image
         sensor, the Tele camera having a respective field of view
         FOVT narrower than FOVW and being operative to provide a
         Tele image of the object or scene, wherein the Tele lens has
         a respective effective focal length EFLT and total track
         length TTLT fulfilling the condition EFLT/TTLT > 1;
      c) a first autofocus (AF) mechanism coupled mechanically to,
          and used to perform an AF action on the Wide lens;


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      d) a second AF mechanism coupled mechanically to, and used
         to perform an AF action on the Tele lens, wherein the Wide
         and Tele lenses have different F numbers F#Wide and F#Tele,
         wherein the Wide and Tele image sensors have pixels with
         respective pixel sizes Pixel sizeWide and Pixel sizeTele wherein
         Pixel sizeWide is not equal to Pixel sizeTele, and wherein the
         Tele camera has a Tele camera depth of field (DOFT)
         shallower that a DOF of the Wide camera (DOFW); and
      e) a camera controller operatively coupled to the first and
          second AF mechanisms and to the Wide and Tele image
          sensors and configured to control the AF mechanisms, to
          process the Wide and Tele images to find translations
          between matching points in the images to calculate depth
          information and to create a fused image suited for portrait
          photos, the fused image having a DOF shallower than DOFT
          and having a blurred background.
Id. at 14:66–15:32.
      C.     Level of Ordinary Skill in the Art
      Petitioner identifies a person of ordinary skill in the art (“POSITA”) at
the time of the invention as someone that would have had “a bachelor’s or
the equivalent degree in electrical and/or computer engineering or a related
field and 2-3 years of experience in imaging systems including optics and
image processing.” Pet. 7 (citing Ex. 1003 ¶ 13). In our Institution
Decision, we adopted this description as our own. See Dec. Inst. 9–10.
Neither party disputes that preliminary finding, which we maintain for
purposes of this decision. See PO Resp. 4–5; Pet. Reply 1–26.
      D.     Claim Construction
      In inter partes reviews, we interpret a claim “using the same claim
construction standard that would be used to construe the claim in a civil
action under 35 U.S.C. 282(b).” 37 C.F.R. § 42.100(b) (2019). Under this
standard, a claim is construed “in accordance with the ordinary and



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customary meaning of such claim as understood by one of ordinary skill in
the art and the prosecution history pertaining to the patent.” Id. Only claim
terms which are in controversy need to be construed and only to the extent
necessary to resolve the controversy. See Nidec Motor Corp. v. Zhongshan
Broad Ocean Motor Co., 868 F.3d 1013, 1017 (Fed. Cir. 2017).
      The parties dispute the meaning of the camera controller limitation
recited in claim 19. See Pet. 8–10; PO Resp. 9–11; Pet. Reply 1–4; PO Sur-
Reply 2–3. We did not provide a preliminary construction for this term in
our Institution Decision because Patent Owner initially did not dispute
Petitioner’s proposed construction or argue for an alternative construction.
See Dec. Inst. 10–11. Although the parties currently dispute the meaning of
this limitation, we need not construe it because our decision does not depend
on its meaning. See Nidec, 868 F.3d at 1017.
      E.      Patentability of Claims 19–21
      Petitioner argues claims 19 and 20 are unpatentable over Parulski,
Ogata, Kawamura, and Soga, and claims 20 and 21 are unpatentable over
Parulski, Ogata, Kawamura, Soga, and Morgan-Mar. Pet. 12–74. Patent
Owner disagrees. PO Resp. 36–80.
      For the reasons discussed below, we find Petitioner has failed to
produce sufficient evidence to demonstrate that a person having ordinary
skill in the art would have known that a scaled version of Ogata’s lens could
have been used in Parulski’s camera with reasonable expectation of success.
This failure is dispositive of all grounds in the Petition. Accordingly, we
limit our analysis below to the evidence and argument presented regarding
the teachings of Parulski, Ogata, and the reasons to combine these
references.



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      1. Parulski
      Parulski discloses “a digital camera that uses multiple lenses and
image sensors to provide an improved imaging capability.” Ex. 1005, 1:8–
10. A schematic illustration of Parulski’s camera is shown in Figure 1,
which is reproduced below.




Figure 1 is “a block diagram . . . of a digital camera using a first zoom lens
[3] with a first image sensor [12], and a second zoom lens [4] with a second
image sensor [14].” Id. at 8:28–30, Fig. 1. Each of zoom lenses 3 and 4
could be “replaced with a fixed focal length lens.” Id. at 13:3–6. Image
sensors 12 and 14 can “have a variety of aspect ratios” and “do not have to
have the same specifications.” Id. at 13:26–32. Parulski’s digital camera
could be, for example, the Kodak Easyshare V610 dual lens digital camera,
which uses a 6MP (megapixel) 1/2.5” charge coupled device (CCD) as an
image sensor. Id. at 5:21–35; see also Ex. 1033, 62 (showing the Easyshare
V610 uses a 6 MP 1/2.5” CCD). Charge coupled devices of this type were
rectangular with a 7.18 mm diagonal. See Ex. 1030, 1.

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      In Parulski’s digital camera, analog data captured by image sensors 12
and 14 are digitized by analog signal processors 22 and 24, respectively, and
sent to multiplexers 34 and 36. Ex. 1005, 13:48–59. Control processor 40
uses multiplexer 34 to select data from one of image sensors 12 or 14 as
image data and uses multiplexer 36 to select data from the other of image
sensors 12 or 14 as autofocus data. Id. at 14:1–5. Image processor 50
generates an image from the selected image data and autofocus signals for
first and second zoom lenses 3 and 4 from the selected autofocus data. Id. at
14:5–16.
      2. Ogata
      Ogata discloses “[a] wide-angle photographic lens system which has a
short total length . . . a high aperture ratio and excellent optical performance,
and is suited for use with the collapsible mount type cameras.” Ex. 1026,
3:2–5. Ogata’s wide-angle lens system is shown in Figure 1, which is
reproduced below.




Figure 1 of Ogata is a schematic illustration of a first embodiment of Ogata’s
wide-angle lens system. Id. at 12:1–4.



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      Lens prescription data for the first embodiment of Ogata’s lens is
provided in tabular form in column 7. An annotated version of that table is
reproduced below.




Id. at 7:35–62. The Figure shows lens prescription data in tabular form for
the first embodiment of Ogata’s lens, annotated to highlight the index of
refraction (n3) and Abbe 5 number (ʋ3) for the third lens element.



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  An Abbe number is an approximate measure of how a material’s index of
refraction depends on the frequency of light passing through it. See, e.g.,
Darryl Meister, Understanding Reference Wavelengths (April 12, 2010),
available at http://www.opticampus.opti.vision/files/memo_on_reference_
wavelengths.pdf (last visited October 18, 2021).

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        3. Reasons to Combine Parulski and Ogata
        Petitioner argues that it would have been obvious to modify Parulski
to include a scaled version of Ogata’s wide-angle lens because “Parulski
does not indicate lens prescription data for . . . [the] lens systems in its
camera.” Pet. 29. Thus, a skilled artisan would have looked to Ogata for
“lens data that specifies the properties and configuration that teaches . . .
how to construct a wide-angle lens unit.” Id. (citing Ex. 1003 ¶ 63).
        Petitioner argues that a skilled artisan would have known that the
wide-angle lens described in Parulski (“40 mm equiv.”) would have had a
56.8 degree FOV6 and focused its image onto the 43.27 mm diameter image
plane of a 35 mm camera. Id. at 29–30 (citing Ex. 1003 ¶ 68; Ex. 1005,
23:23–43; Ex. 1019, 107). Petitioner further argues that such an artisan
would have also known that scaling Ogata’s lens to instead focus its image
onto the 7.12 mm diameter image plane of a 1/2.5” CCD would have
resulted in a scaled lens having a similar 63.4 degree FOV and 2.9 F-
number, but a 5.72 mm effective focal length (EFL) and a 6.89 mm total
track length (TTL). Id. at 26–28 (citing Ex. 1005, 5:21–35; 1020, 57;
Ex. 1021 ¶¶ 37–39; Ex. 1022, 254–255; Ex. 1026, 7:35–61, Fig. 1; Ex. 1029;
Ex. 1030; Ex. 1033, 62).
        Petitioner supports its argument with the testimonial evidence of Dr.
Sasián. See Pet. 26–27 (citing Ex. 1021 ¶ 38). According to Dr. Sasián, a
person skilled in the art could have used Zemax lens design software to scale
Ogata’s lens. Ex. 1021 ¶ 39 (citing Ex. 1021, App’x, Figs. 3A–3C). The
appendix to Dr. Sasián’s declaration includes a heading “C” entitled “Fig. 3
- Ogata scaled to fill a 1/2.5” image sensor using Zemax (v.02/14/2011).”


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    Corresponding to a 28.40 degree HFOV or half field-of-view.

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Id. at 34.7 The appendix also includes a heading “C.3” entitled “Figure 3C –
Prescription Data,” followed by a “Lens Data Editor” spreadsheet, an
annotated version of which is reproduced below. 8




The Figure is an annotated version of “Fig. 3C – Prescription Data” showing
lens prescription data entered into a “Lens Data Editor” spreadsheet and

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 When citing to the appendix, we cite to the declaration page numbers.
8
 In Zemax, a “Lens Data Editor is the primary spreadsheet where the
majority of the lens data will be entered.” Ex. 1022, 789.

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annotated to highlight the index of refraction (1.83) and Abbe number (26.5)
of the third lens element in the “Glass” column.
      A few inconsistencies between the lens prescription data for Ogata’s
first embodiment lens and the data entered into the “Lens Editor Data”
spreadsheet are noticeable. First, the Abbe number for the third lens element
is 42.72 in Ogata’s first embodiment lens and 26.5 (i.e., 38% smaller) in the
“Lens Data Editor” spreadsheet. Compare Ex. 1026, 7:46, with Ex. 1021,
36. Second, the data for the fourth and tenth aspherical surfaces are
noticeably different. For example, the fourth order term (A4) for the fourth
aspherical surface is 0.66 x 10-4 in Ogata’s first embodiment lens and
151.69 x 10-4 (i.e., 0.015) in the “Lens Data Editor” spreadsheet. Compare
Ex. 1026, 7:55, with Ex. 1021, 36. Neither Petitioner nor Dr. Sasián explain
these discrepancies.
      Patent Owner identifies the Abbe number discrepancy for the third
lens element between Ogata’s first embodiment lens and the “Lens Data
Editor” spreadsheet. See PO Resp. 31. Patent Owner argues that, due to this
discrepancy, “Dr. Sasián’s field curvature, distortion and OPD [optical path
difference] fan plots on page 35 of his declaration do not accurately reflect
the performance of a scaled version of Ogata’s Embodiment 1 lens.” Id.
(citing Ex. 2015 ¶ 62). Moreover, Dr. Moore opines that “[a] significant
change in the index of refraction or the Abbe number can change a highly
performing lens design into an unacceptable design.” Ex. 2015 ¶ 88.
      Petitioner was provided an opportunity to try to explain or correct this
Abbe number discrepancy in its Reply, but did not attempt to do so. See Pet.
Reply, 1–26. Instead, Petitioner argued that “Petitioner and Dr. Sasián have
provided detailed lens design software analysis, which confirms the viability
of . . . Ogata’s lens designs in Parulski and reinforces the Petition’s

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motivation to use the same.” Id. at 15 (citing Pet. 21–24, 28–30; Ex. 1021
¶¶ 35–45, App’x; Ex. 1039 ¶ 22, App’x).9 But Dr. Sasián’s lens design
analysis appears to be based on the erroneous data discussed above, calling
into question Petitioner’s contention that a person skilled in the art would
have known that Ogata’s lens could be scaled to work in Parulski’s camera
with a reasonable expectation of success. Indeed, Petitioner criticized Patent
Owner for offering opinions that were not based on lens design software
analysis because a person skilled in the art “would have performed lens
design software analysis and formed its opinion based on the lens design
software.” Id.
      In an inter partes review, Petitioner is “master of its complaint.” SAS
Institute, Inc. v. Iancu, 138 S.Ct. 1348, 1355 (2018). Thus, the Petition is
“the centerpiece of the proceeding both before and after institution.” Id. at
1358. Moreover, Petitioner “has the burden from the onset to show with
particularity why the patent it challenges is unpatentable.” Harmonic Inc. v.
Avid Tech., Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016). Petitioner’s
contention that a person skilled in the art would have found it obvious that
Ogata’s lens could have been scaled to work in Parulski’s camera with a
reasonable expectation of success is entirely based on Dr. Sasián’s opinion,
which is based on Dr. Sasián’s Zemax lens design software analysis. See
Pet. 24–30; see also Ex. 1021 ¶¶ 35–39, App’x, 34–36. But, as noted above,
the lens prescription data used for that analysis appears to differ from the




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 Petitioner cites paragraphs 50–55 and 61–65 of Dr. Sasián’s declaration,
which has 46 enumerated paragraphs. See Ex. 1021, 27. Dr. Sasián analyzes
scaling Ogata’s lens in paragraphs 35–39 of his declaration and scaling
Kawamura’s lens in paragraphs 40–45. We make that correction here.

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lens prescription data for Ogata’s first embodiment lens.10 Compare
Ex. 1026, 7:46, with Ex. 1021, 36. We accept as true Petitioner’s contention
that a person skilled in the art “would have performed lens design software
analysis and formed [an] opinion based on the lens design software.” Pet.
Reply 15 (citing Ex. 1039 ¶ 22). A logical consequence of that contention is
that the opinion of a person skilled in the art will be only as reliable as the
lens design software analysis that person performed, which will be only as
reliable as the data used to perform that analysis.
      Moreover, as also discussed above, Patent Owner pointed out this
Abbe number discrepancy in its Patent Owner Response. See PO Resp. 31.
This put Petitioner on notice of the discrepancy and shifted the burden of
production to Petitioner to either correct its analysis or explain why the
Abbe number discrepancy did not affect the analysis. See Dynamic
Drinkware, LLC v. National Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir.
2015) (explaining the shifting burden of production in an inter partes review
may require “producing additional evidence and presenting persuasive
argument based on new evidence or evidence already of record”) (internal
citations omitted). Petitioner neither corrected its reason to combine
analysis nor explained why it would not be affected by the apparent Abbe
number discrepancy. See Pet. Reply 1–26.
      Finally, in response to Patent Owner’s argument that a person skilled
in the art “would not have used the Ogata lens design scaled down,” but
would have instead constructed a miniature camera lens using “a fully


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  We note, as well, that the lens prescription data for example 1 of
Kawamura’s lens appears to differ from the lens prescription data Dr. Sasián
used to perform the Zemax analysis for scaling Kawamura’s lens. Compare
Ex. 1012, 3, with Ex. 1021, 37, 39.

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aspheric design with plastic elements” having an aperture stop near the front
of the lens (PO Resp. 58–59), Petitioner argues that a person of ordinary
skill in the art “could have used lens design software to modify and adjust an
older lens design into a miniaturized version” because the “modifications or
adjustments [needed] were within the skill” level of a person of ordinary
skill in the art (Pet. Reply 15–16 (citing Ex. 1039 ¶¶ 24–31)). 11 Patent
Owner argues that “Dr. Sasián’s new Zemax analyses should be disregarded
as an untimely obviousness theory presented in reply” because “[t]he Zemax
analyses in Dr. Sasián’s original declaration simply took the lens
prescriptions in the Kawamura and Ogata patents and confirmed that Zemax
would scale them.” PO Sur-Reply 13–14.
      We agree with Patent Owner. The Petition contends that a person of
ordinary skill in the art would have known that Ogata’s lens (using glass lens
elements) could have been scaled to focus an image onto a 1/2.5” image
sensor for use in Parulski’s camera. See Pet. 24–30; Ex. 1021, 36.
Petitioner’s reply evidence and argument is not introduced to support that
contention but a different contention—that a person of ordinary skill in the
art would have known that Ogata’s lens could have been redesigned using
aspheric plastic lens elements to focus an image onto a 1/3” image sensor.
See n.11, supra. This is a new contention that does not support Petitioner’s

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  We note that Dr. Sasián’s analysis discloses how Kawamura’s lens can be
modified by replacing the spherical glass lens elements with aspherical
plastic lens elements, moving the aperture stop to the first lens element,
changing the F number to 2.8, and reducing the effective focal length to
focus an image onto a 1/3” image sensor rather than a 1/2.5” image sensor.
See Ex. 1039 ¶¶ 25–30; App’x, 17–18. Dr. Sasián also opines that although
this analysis illustrates how Kawamura’s lens could have been modified, a
person skilled in the art “would have recognized that Ogata could have been
similarly adjusted to yield a miniaturized form-factor.” Id. ¶ 25.

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original contention that Ogata’s lens could simply be scaled. Therefore,
because it is a new and untimely contention, we do not consider it further.
See Consolidated Trial Practice Guide (Nov. 2019)12 (“Petitioner may not
submit new evidence or argument in reply that it could have presented
earlier, e.g., to make out a prima facie case of unpatentability.”); see also
Ariosa Diagnostics v. Verinata Heath, Inc., 805 F.3d 1359, 1368 (Fed. Cir.
2015) (“The Board must make judgments about . . . when a Reply contention
crosses the line from the responsive to the new.”); Intelligent Bio-Sys., Inc.
v. Illumina Cambridge Ltd., 821 F.3d at 1359, 1369–70 (Fed. Cir. 2016)
(affirming the Board’s rejection of a reply argument presenting an “entirely
new rationale to explain why one of skill in the art would have been
motivated to combine” prior art references); Henny Penny Corp. v.
Frymaster LLC, 938 F.3d 1324, 1330–31 (Fed. Cir. 2019) (affirming the
Board’s rejection of a reply argument presenting an “entirely new rationale”
for why a claim would have been obvious).
        For the reasons discussed above, we find Petitioner has failed to
muster sufficient evidence to demonstrate by a preponderance of evidence
that a person or ordinary skill in the art at the time of the invention would
have known that Ogata’s lens could have been scaled to work in Parulski’s
camera with a reasonable expectation of success. Accordingly, we find
Petitioner has failed to demonstrate that claims 19 and 20 are unpatentable
over Parulski, Ogata, Kawamura, and Soga or that claims 20 and 21 are
unpatentable over Parulski, Ogata, Kawamura, Soga, and Morgan-Mar.




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     Available at https://www.uspto.gov/TrialPracticeGuideConsolidated

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                           III.     CONCLUSION
      We have reviewed the Petition, Patent Owner Response, Petitioner
Reply, and Patent Owner Sur-Reply. We find, on this record, Petitioner has
failed to demonstrate by a preponderance of evidence that claims 19–22 of
the ’479 patent are unpatentable.
                                                           Claims         Claims
                                    Reference(s)
   Claims       35 U.S.C. §                                Shown       Not Shown
                                       /Basis
                                                         Unpatentable Unpatentable
 19, 20         103(a)        Parulski, Ogata,                        19, 20
                              Kawamura, Soga
 21, 22         103(a)        Parulski, Ogata,                          21, 22
                              Kawamura, Soga,
                              Morgan-Mar
 Overall                                                                19–22
 Outcome

                                  IV.   ORDER
      In consideration of the foregoing, it is hereby:
      ORDERED that Petitioner has failed to show by a preponderance of
evidence that claims 19 and 20 are unpatentable under 35 U.S.C. § 103(a)
over Parulski, Ogata, Kawamura, and Soga; and
      FURTHER ORDERED that Petitioner has failed to show by a
preponderance of evidence that claims 21 and 22 are unpatentable under
35 U.S.C. § 103(a) over Parulski, Ogata, Kawamura, Soga, and Morgan-
Mar; and
      FURTHER ORDERED that this Decision is final, and a party to this
proceeding seeking judicial review of the Decision must comply with the
notice and service requirements of 37 C.F.R. § 90.2.




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c12)   United States Patent                                                          (IO)      Patent No.:     US 10,225,479 B2
       Shabtay et al.                                                                (45)      Date of Patent:       Mar.5,2019

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                                                                             Primary Examiner - Cynthia Segura
(65)                  Prior Publication Data                                 (74) Attorney, Agent, or Firm - Nathan and Associates;
       US 2018/0359423 Al           Dec. 13, 2018                            Menachem Nathan
                                                                             (57)                     ABSTRACT
                                                                             A dual-aperture zoom digital camera operable in both still
                Related U.S. Application Data                                and video modes. The camera includes Wide and Tele
                                                                             imaging sections with respective lens/sensor combinations
(63)   Continuation of application No. 15/865,869, filed on                  and image signal processors and a camera controller opera-
       Jan. 9, 2018, which is a continuation of application                  tively coupled to the Wide and Tele imaging sections. The
                        (Continued)                                          Wide and Tele imaging sections provide respective image
                                                                             data. The controller is configured to combine in still mode at
(51)   Int. Cl.                                                              least some of the Wide and Tele image data to provide a
       H04N 51232              (2006.01)                                     fused output image from a particular point of view, and to
       H04N 51225              (2006.01)                                     provide without fusion continuous zoom video mode output
                         (Continued)                                         images, each output image having a given output resolution,
(52)   U.S. Cl.                                                              wherein the video mode output images are provided with a
       CPC ....... H04N 5123296 (2013.01); G02B 13/009                       smooth transition when switching between a lower zoom
                           (2013.01); G02B 13/0015 (2013.01);                factor (ZF) value and a higher ZF value or vice versa, and
                              (Continued)                                    wherein at the lower ZF the output resolution is determined
                                                                             by the Wide sensor while at the higher ZF value the output
(58)   Field of Classification Search
                                                                             resolution is determined by the Tele sensor.
       CPC ........................ G02B 13/0015; G02B 27/0075
       See application file for complete search history.                                            40 Claims, 8 Drawing Sheets

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                                                                                             II              --------                                  I



                               Wide lens 102                                                                  Tele Jens I 08


                                Wide sensor I 04                                                            Tele sensor 110



                                   Wide ISP 106
                                                                                             , l~--T-.e-l_e_1s_P_u_2_ _                          ~
              I
              ~----------------------------1
                  Camera Controller 114

                                                                                                    User control 118
                                Sensor control 116



                                         Video processing                                            Still processing
                                                126                                                         128




      ~---------------------------------------------------------------------------------                                                                   I


   FlG. lA

                                                                                                  Tele camera




   FIG. 1B




                                                                                                        APPL-1001 / Page 5 of 21
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                                                   Tele




               202                                  204



   FIG. 2




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        Wide sensor
        Line Number
                                                Wide
                                                I
                                               Rolling  I
             ~1/frame r a t e ~ ~ Sh t ~
                                 Wide      I     ut er  I
                         l.A____       -..1     Time    1
                         1--..Vertical~
                         I       Blank     I
             -------'•1~---,               .------'·,..___,
                                 I
                                 I




        r
    Overlapping
                  i1
                               Wide




       TL_
                                                I
                                                                         \         Time
                                                I
                                                I
                                                I
                       1/frame rate~1
                           :                    I
                  , Tele j                      I
                  : Rolling;          Tele      1
                  ! Shutter!         Vertical   I   !
                  : Time :            Blank     I
                  :•     ~:~                    }+!
                  :        '                        -----~



                                                             Tele
                                                           Exposure
                                                            Time




       Tele sensor\
      Line Number

              ______________\__________...,. Time


   FIG. 3



                                                                        APPL-1001 / Page 7 of 21
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                                                                                                       n                                               •


                                              .................. ··············;··~;~x-··




   FIG. 4




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                                     ISP: Perform image signal
                                  processing on data received fom1
                                   each sensor to obtain processed
                                       Wide and Tele images
                                                 502

                                                  !
                                   Rectification: Align processed
                                  Wide and Tele images to be on an
                                   epipolar line to obtain aligned
                                          (rectified) images
                                                 504

                                                  ~
                                   Registration: Map the aligned
                                  Wide and Tele images to obtain a
                                          registration map
                                                 506

                                                  i
                                  Resampling: Process registration
                                  map and processed Tele image to
                                  obtain a re-sampled Tele image
                                                508


                                                  1
                                   Decision: Use re-sampled Tele
                                  image and Wide image to detect
                                   errors in the registration and to
                                      provide a decision output
                                                  510


                                                  l
                                  Fusion: Fuse the decision output,
                                  re-sampled Tele image and Wide
                                   image into a fused zoom image
                                                 512




        FIG. 5


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                          ,.__     Choose sensor(s) to be operational
                                                   602


                                                    l
                                  Optionally, calculate color balance if
                          ,.__     two (Wide and Tele) images are
                                      provided by the two sensors.
                                                   604

                                                    l
                                    Optionally, apply calculated color
                          ,.__        balance in one of the images
                                                   606


                                                    l
                                  Optionally,    perform    registration
                          ,.__    between the Wide and Tele images to
                                  output a transfonnation coefficient
                                                   608

                                                    l
                                      Set an AF position using the
                                       transfonnation coefficient
                                                   610




                          ---
                                    Process an output of any of steps
                                  602-608 to obtain a processed image
                                                  612


                                                    l
                                    Resample the processed image
                                    according to the transformation
                                  coefficient, requested ZF and output
                                            video resolution
                                                   614




       FIG. 6



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     Effective
     Resolution




                                                      User Zoom factor
                     ~Zoomdown
                         <       )
                           ~Zoomup




    FIG. 7




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                                                \..,_FFFF~




                       802                              806              810


              FIG. 8
                                       904              908




                       902                       906               910
              FIG. 9



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                                                    US 10,225,479 B2
                               1                                                                       2
         DUAL APERTURE ZOOM DIGITAL                                     image sensor region. The image sensor (or simply "sensor")
                   CAMERA                                               region is configured to receive the image and to generate a
                                                                        set of image data based on the image. The digital camera
           CROSS REFERENCE TO RELATED                                   may be aligned to receive electromagnetic radiation associ-
                  APPLICATIONS                                     5    ated with scenery having a given set of one or more objects.
                                                                        The set of image data may be represented as digital image
   This application is a Continuation application of U.S.               data, as well known in the art. Hereinafter in this description,
patent application Ser. No. 15/865,869, filed Jan. 9, 2018,             "image" "image data" and "digital image data" may be used
which was a Continuation application of U.S. patent appli-              interchangeably. Also, "object" and "scene" may be used
cation Ser. No. 15/424,853 filed Feb. 5, 2017, which was a         10   interchangeably.
Continuation application of U.S. patent application Ser. No.               Multi-aperture imaging systems and associated methods
14/880,251 filed Oct. 11, 2015 (issued as U.S. Pat. No.                 are described for example in US Patent Publications No.
9,661,233), which was a Continuation application of U.S.                2008/0030592, 2010/0277619 and 2011/0064327. In US
patent application Ser. No. 14/365,711 filed Jun. 16, 2014              2008/0030592, two sensors are operated simultaneously to
(issued as U.S. Pat. No. 9,185,291), which was a 371               15   capture an image imaged through an associated lens. A
application from international patent application PCT/                  sensor and its associated lens form a lens/sensor combina-
IB2014/062180 filed Jun. 12, 2014, and is related to and                tion. The two lenses have different focal lengths. Thus, even
claims priority from U.S. Provisional Patent Application No.            though each lens/sensor combination is aligned to look in
61/834,486 having the same title and filed Jun. 13, 2013,               the same direction, each captures an image of the same
which is incorporated herein by reference in its entirety.         20   subject but with two different fields of view (FOYs). One
                                                                        sensor is commonly called "Wide" and the other "Tele".
                            FIELD                                       Each sensor provides a separate image, referred to respec-
                                                                        tively as "Wide" (or "W") and "Tele" (or "T") images. A
  Embodiments disclosed herein relate in general to digital             W-image reflects a wider FOY and has lower resolution than
cameras and in particular to thin zoom digital cameras with        25   the T-image. The images are then stitched (fused) together to
both still image and video capabilities                                 form a composite ("fused") image. In the composite image,
                                                                        the central portion is formed by the relatively higher-
                      BACKGROUND                                        resolution image taken by the lens/sensor combination with
                                                                        the longer focal length, and the peripheral portion is formed
   Digital camera modules are currently being incorporated         30   by a peripheral portion of the relatively lower-resolution
into a variety of host devices. Such host devices include               image taken by the lens/sensor combination with the shorter
cellular telephones, personal data assistants (PDAs), com-              focal length. The user selects a desired amount of zoom and
puters, and so forth. Consumer demand for digital camera                the composite image is used to interpolate values from the
modules in host devices continues to grow.                              chosen amount of zoom to provide a respective zoom image.
   Host device manufacturers prefer digital camera modules         35   The solution offered by US 2008/0030592 requires, in video
to be small, so that they can be incorporated into the host             mode, very large processing resources in addition to high
device without increasing its overall size. Further, there is an        frame rate requirements and high power consumption (since
increasing demand for such cameras to have higher-perfor-               both cameras are fully operational).
mance characteristics. One such characteristic possessed by                US 2010/0277619 teaches a camera with two lens/sensor
many higher-performance cameras (e.g., standalone digital          40   combinations, the two lenses having different focal lengths,
still cameras) is the ability to vary the focal length of the           so that the image from one of the combinations has a FOY
camera to increase and decrease the magnification of the                approximately 2-3 times greater than the image from the
image. This ability, typically accomplished with a zoom                 other combination. As a user of the camera requests a given
lens, is known as optical zooming. "Zoom" is commonly                   amount of zoom, the zoomed image is provided from the
understood as a capability to provide different magnifica-         45   lens/sensor combination having a FOY that is next larger
tions of the same scene and/or object by changing the focal             than the requested FOY. Thus, if the requested FOY is less
length of an optical system, with a higher level of zoom                than the smaller FOY combination, the zoomed image is
associated with greater magnification and a lower level of              created from the image captured by that combination, using
zoom associated with lower magnification. Optical zooming               cropping and interpolation if necessary. Similarly, if the
is typically accomplished by mechanically moving lens              50   requested FOY is greater than the smaller FOY combination,
elements relative to each other. Such zoom lenses are                   the zoomed image is created from the image captured by the
typically more expensive, larger and less reliable than fixed           other combination, using cropping and interpolation if nec-
focal length lenses. An alternative approach for approximat-            essary. The solution offered by US 2010/0277619 leads to
ing the zoom effect is achieved with what is known as digital           parallax artifacts when moving to the Tele camera in video
zooming. With digital zooming, instead of varying the focal        55   mode.
length of the lens, a processor in the camera crops the image              In both US 2008/0030592 and US 2010/0277619, differ-
and interpolates between the pixels of the captured image to            ent focal length systems cause Tele and Wide matching
create a magnified but lower-resolution image.                          FOYs to be exposed at different times using CMOS sensors.
   Attempts to use multi-aperture imaging systems to                    This degrades the overall image quality. Different optical F
approximate the effect of a zoom lens are known. A multi-          60   numbers ("F#'') cause image intensity differences. Working
aperture imaging system (implemented for example in a                   with such a dual sensor system requires double bandwidth
digital camera) includes a plurality of optical sub-systems             support, i.e. additional wires from the sensors to the follow-
(also referred to as "sub-cameras"). Each sub-camera                    ing HW component. Neither US 2008/0030592 nor US
includes one or more lenses and/or other optical elements               2010/0277619 deal with registration errors. Neither
which define an aperture such that received electro-magnetic       65   US2008/000592 nor US 2010/0277619 refer to partial
radiation is imaged by the optical sub-system and a resulting           fusion, i.e. fusion ofless than all the pixels of both Wide and
image is directed towards a two-dimensional (2D) pixelated              Tele images in still mode.

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                               3                                                                       4
    US 2011/0064327 discloses multi-aperture imaging sys-                may be applied on one or both of the grabbed images to scale
tems and methods for image data fusion that include pro-                 it to the image grabbed by the Tele sub-camera or to a scale
viding first and second sets of image data corresponding to              defined by the user. The fusion or up-sampling may be
an imaged first and second scene respectively. The scenes                applied to only some of the pixels of a sensor. Down-
overlap at least partially in an overlap region, defining a first   5    sampling can be performed as well if the output resolution
collection of overlap image data as part of the first set of             is smaller than the sensor resolution.
image data, and a second collection of overlap image data as                 The cameras and associated methods disclosed herein
part of the second set of image data. The second collection              address and correct many of the problems and disadvantages
of overlap image data is represented as a plurality of image             of known dual-aperture optical zoom digital cameras. They
data sub-cameras such that each of the sub-cameras is based         10
                                                                         provide an overall zoom solution that refers to all aspects:
on at least one characteristic of the second collection, and             optics, algorithmic processing and system hardware (HW).
each sub-camera spans the overlap region. A fused set of
                                                                         The proposed solution distinguishes between video and still
image data is produced by an image processor, by modifying
                                                                         mode in the processing flow and specifies the optical
the first collection of overlap image data based on at least a
                                                                         requirements and HW requirements. In addition, it provides
selected one of, but less than all of, the image data sub-          15
cameras. The systems and methods disclosed in this appli-                an innovative optical design that enables a low TTL/EFL
cation deal solely with fused still images.                              ratio using a specific lens curvature order.
    None of the known art references provide a thin (e.g.                    Due to the large focal length, objects that are in front or
fitting in a cell-phone) dual-aperture zoom digital camera               behind the plane of focus appear very blurry, and a nice
with fixed focal length lenses, the camera configured to            20   foreground-to-background contrast is achieved. However, it
operate in both still mode and video mode to provide still               is difficult to create such a blur using a compact camera with
and video images, wherein the camera configuration uses                  a relatively short focal length and small aperture size, such
partial or full fusion to provide a fused image in still mode            as a cell-phone camera. In some embodiments, a dual-
and does not use any fusion to provide a continuous, smooth              aperture zoom system disclosed herein can be used to
zoom in video mode.                                                 25   capture a shallow DOF photo (shallow compared with a
    Therefore there is a need for, and it would be advanta-              DOF of a Wide camera alone), by taking advantage of the
geous to have thin digital cameras with optical zoom oper-               longer focal length of the Tele lens. The reduced DOF effect
ating in both video and still mode that do not suffer from               provided by the longer Tele focal length can be further
commonly encountered problems and disadvantages, some                    enhanced in the final image by fusing data from an image
of which are listed above.                                          30   captured simultaneously with the Wide lens. Depending on
                                                                         the distance to the object, with the Tele lens focused on a
                         SUMMARY                                         subject of the photo, the Wide lens can be focused to a closer
                                                                         distance than the subject so that objects behind the subject
   Embodiments disclosed herein teach the use of dual-                   appear very blurry. Once the two images are captured,
aperture (also referred to as dual-lens or two-sensor) optical      35   information from the out-of-focus blurred background in the
zoom digital cameras. The cameras include two sub-cam-                   Wide image is fused with the original Tele image back-
eras, a Wide sub-camera and a Tele sub-camera, each                      ground information, providing a blurrier background and
sub-camera including a fixed focal length lens, an image                 even shallower DOF.
sensor and an image signal processor (ISP). The Tele sub-                    In an embodiment there is provided a zoom digital camera
camera is the higher zoom sub-camera and the Wide sub-              40   comprising a Wide imaging section that includes a fixed
camera is the lower zoom sub-camera. In some embodi-                     focal length Wide lens with a Wide FOY, a Wide sensor and
ments, the lenses are thin lenses with short optical paths of            a Wide image signal processor (ISP), the Wide imaging
less than about 9 mm. In some embodiments, the thickness/                section operative to provide Wide image data of an object or
effective focal length (EFL) ratio of the Tele lens is smaller           scene; a Tele imaging section that includes a fixed focal
than about 1. The image sensor may include two separate 2D          45   length Tele lens with a Tele FOY that is narrower than the
pixelated sensors or a single pixelated sensor divided into at           Wide FOY, a Tele sensor and a Tele ISP, the Tele imaging
least two areas. The digital camera can be operated in both              section operative to provide Tele image data of the object or
still and video modes. In still mode, zoom is achieved "with             scene; and a camera controller operatively coupled to the
fusion" (full or partial), by fusing Wand T images, with the             Wide and Tele imaging sections, the camera controller
resulting fused image including always information from             50   configured to combine in still mode at least some of the
both Wand T images. Partial fusion may be achieved by not                Wide and Tele image data to provide a fused output image
using fusion in image areas where the Tele image is not                  of the object or scene from a particular point of view (POV),
focused. This advantageously reduces computational                       and to provide without fusion continuous zoom video mode
requirements (e.g. time).                                                output images of the object or scene, a camera controller
   In video mode, optical zoom is achieved "without fusion",        55   operatively coupled to the Wide and Tele imaging sections,
by switching between the W and T images to shorten                       the camera controller configured to combine in still mode at
computational time requirements, thus enabling high video                least some of the Wide and Tele image data to provide a
rate. To avoid discontinuities in video mode, the switching              fused output image of the object or scene from a particular
includes applying additional processing blocks, which                    point of view and to provide without fusion continuous
include image scaling and shifting.                                 60   zoom video mode output images of the object or scene, each
   In order to reach optical zoom capabilities, a different              output image having a respective output resolution, wherein
magnification image of the same scene is captured (grabbed)              the video output images are provided with a smooth transi-
by each camera sub-camera, resulting in FOY overlap                      tion when switching between a lower zoom factor (ZF)
between the two sub-cameras. Processing is applied on the                value and a higher ZF value or vice versa, wherein at the
two images to fuse and output one fused image in still mode.        65   lower ZF value the output resolution is determined by the
The fused image is processed according to a user zoom                    Wide sensor, and wherein at the higher ZF value the output
factor request. As part of the fusion procedure, up-sampling             resolution is determined by the Tele sensor.

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   In an embodiment, the camera controller configuration to              FIG. 2 shows an example of Wide sensor, Tele sensor and
provide video output images with a smooth transition when              their respective FOVs;
switching between a lower ZF value and a higher ZF value                 FIG. 3 shows a schematically embodiment of CMOS
or vice versa includes a configuration that uses at high ZF            sensor image grabbing vs. time;
secondary information from the Wide camera and uses at            5      FIG. 4 shows schematically a sensor time configuration
low ZF secondary information from the Tele camera. As                  which enables sharing one sensor interface using dual sensor
used herein, "secondary information" refers to white balance           zoom system;
gain, exposure time, analog gain and color correction                    FIG. 5 shows an embodiment of a method disclosed
matrix.                                                                herein for acquiring a zoom image in capture mode;
   In a dual-aperture camera image plane, as seen by each
                                                                  10     FIG. 6 shows an embodiment of a method disclosed
sub-camera (and respective image sensor), a given object               herein for acquiring a zoom image in video/preview mode;
                                                                         FIG. 7 shows a graph illustrating an effective resolution
will be shifted and have different perspective (shape). This
                                                                       zoom factor;
is referred to as point-of-view (POV). The system output
                                                                         FIG. 8 shows one embodiment of a lens block in a thin
image can have the shape and position of either sub-camera
                                                                  15   camera disclosed herein;
image or the shape or position of a combination thereof. If              FIG. 9 shows another embodiment of a lens block in a thin
the output image retains the Wide image shape then it has the          camera disclosed herein.
Wide perspective POV. If it retains the Wide camera position
then it has the Wide position POV. The same applies for Tele                          DETAILED DESCRIPTION
images position and perspective. As used in this description,     20
the perspective POV may be of the Wide or Tele sub-                       FIG. lA shows schematically a block diagram illustrating
cameras, while the position POV may shift continuously                 an embodiment of a dual-aperture zoom imaging system
between the Wide and Tele sub-cameras. In fused images, it             (also referred to simply as "digital camera" or "camera")
is possible to register Tele image pixels to a matching pixel          disclosed herein and numbered 100. Camera 100 comprises
set within the Wide image pixels, in which case the output        25   a Wide imaging section ("sub-camera") that includes a Wide
image will retain the Wide POV ("Wide fusion"). Alterna-               lens block 102, a Wide image sensor 104 and a Wide image
tively, it is possible to register Wide image pixels to a              processor 106. Camera 100 further comprises a Tele imaging
matching pixel set within the Tele image pixels, in which              section ("sub-camera") that includes a Tele lens block 108,
case the output image will retain the Tele POV ("Tele                  a Tele image sensor 110 and a Tele image processor 112. The
fusion"). It is also possible to perform the registration after   30   image sensors may be physically separate or may be part of
either sub-camera image is shifted, in which case the output           a single larger image sensor. The Wide sensor pixel size can
image will retain the respective Wide or Tele perspective              be equal to or different from the Tele sensor pixel size.
POV.                                                                   Camera 100 further comprises a camera fusion processing
   In an embodiment there is provided a method for obtain-             core (also referred to as "controller") 114 that includes a
ing zoom images of an object or scene in both still and video     35   sensor control module 116, a user control module 118, a
modes using a digital camera, the method comprising the                video processing module 126 and a capture processing
steps of providing in the digital camera a Wide imaging                module 128, all operationally coupled to sensor control
section having a Wide lens with a Wide FOY, a Wide sensor              block 110. User control module 118 comprises an opera-
and a Wide image signal processor (ISP), a Tele imaging                tional mode function 120, a region of interest (ROI) function
section having a Tele lens with a Tele FOY that is narrower       40   122 and a zoom factor (ZF) function 124.
than the Wide FOY, a Tele sensor and a Tele ISP, and a                    Sensor control module 116 is connected to the two
camera controller operatively coupled to the Wide and Tele             sub-cameras and to the user control module 118 and used to
imaging sections; and configuring the camera controller to             choose, according to the zoom factor, which of the sensors
combine in still mode at least some of the Wide and Tele               is operational and to control the exposure mechanism and
image data to provide a fused output image of the object or       45   the sensor readout. Mode choice function 120 is used for
scene from a particular point of view, and to provide without          choosing capture/video modes. ROI function 122 is used to
fusion continuous zoom video mode output images of the                 choose a region of interest. As used herein, "ROI" is a user
object or scene, each output image having a respective                 defined as a sub-region of the image that may be exemplarily
output resolution, wherein the video mode output images are            4% or less of the image area. The ROI is the region on which
provided with a smooth transition when switching between          50   both sub-cameras are focused on. Zoom factor function 124
a lower ZF value and a higher ZF value or vice versa, and              is used to choose a zoom factor. Video processing module
wherein at the lower ZF value the output resolution is                 126 is connected to mode choice function 120 and used for
determined by the Wide sensor while at the higher ZF value             video processing. Still processing module 128 is connected
the output resolution is determined by the Tele sensor.                to the mode choice function 120 and used for high image
                                                                  55   quality still mode images. The video processing module is
      BRIEF DESCRIPTION OF THE DRAWINGS                                applied when the user desires to shoot in video mode. The
                                                                       capture processing module is applied when the user wishes
   Non-limiting examples of embodiments disclosed herein               to shoot still pictures.
are described below with reference to figures attached hereto             FIG. 1B is a schematic mechanical diagram of the dual-
that are listed following this paragraph. The drawings and        60   aperture zoom imaging system of FIG. lA. Exemplary
descriptions are meant to illuminate and clarify embodi-               dimensions: Wide lens TTL=4.2 mm and EFL=3.5 mm; Tele
ments disclosed herein, and should not be considered lim-              lens TTL=6 mm and EFL=7 mm; both Wide and Tele
iting in any way.                                                      sensors 1/2 inch. External dimensions of Wide and Tele
   FIG. lA shows schematically a block diagram illustrating            cameras: width (w) and length (1)=8.5 mm and height
a dual-aperture zoom imaging system disclosed herein;             65   (h)=6.8 mm Distance "d" between camera centers=l0 mm.
   FIG. 1B is a schematic mechanical diagram of the dual-                 Following is a detailed description and examples of
aperture zoom imaging system of FIG. lA:                               different methods of use of camera 100.

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Design for Continuous and Smooth Zoom in Video Mode                    and the vertical blanking time for each sensor. In the
  In an embodiment, in order to reach high quality continu-            particular configuration, the scanning is synchronized such
ous and smooth optical zooming in video camera mode                    that the same points of the object in each view are obtained
while reaching real optical zoom using fixed focal length              simultaneously.
sub-cameras, the system is designed according to the fol-         5       Specifically with reference to FIG. 3 and according to an
lowing rules (Equations 1-3):                                          embodiment of a method disclosed herein, the configuration
                                                            (1)
                                                                       to synchronize the scanning includes: setting the Tele sensor
                                                                       vertical blanking time VBTele to equal the Wide sensor
where Tan refers to "tangent", while FOY mde and FOYTele               vertical blanking time VBmde plus half the Wide sensor
refer respectively to the Wide and Tele lens fields of view (in   10   rolling shutter time RST mde; setting the Tele and Wide
degrees). As used herein, the FOY is measured from the                 sensor exposure times ET Tele and ET mde to be equal or
center axis to the corner of the sensor (i.e. half the angle of        different; setting the Tele sensor rolling shutter time RST Tele
the normal definition). PLmde and PLv,deo refer respectively           to be 0.5*RST mde; and setting the frame rates of the two
to the "in-line" (i.e. in a line) number of Wide sensor pixels         sensors to be equal. This procedure results in identical image
and in-line number of output video format pixels. The ratio       15   pixels in the Tele and Wide sensor images being exposed at
PLw;d)PLv,deo is called an "oversampling ratio". For                   the same time
example, in order to get full and continuous optical zoom                 In another embodiment, the camera controller synchro-
experience with a 12 Mp sensor (sensor dimensions 4000x                nizes the Wide and Tele sensors so that for both sensors the
3000) and a required 1080p (dimension 1920x1080) video                 rolling shutter starts at the same time.
format, the FOY ratio should be 4000/1920=2.083. More-            20      The exposure times applied to the two sensors could be
over, if the Wide lens FOY is given as FOY mde=37.5°, the              different, for example in order to reach same image intensity
required Tele lens FOY is 20.2° The zoom switching point               using different F# and different pixel size for the Tele and
is set according to the ratio between sensor pixels in-line and        Wide systems. In this case, the relative exposure time may
the number of pixels in-line in the video format and defined           be configured according to the formula below:
as:                                                               25
                                                                             ETre1e ~ETWide·(F#re1/F#Wide) 2 ·(Pixe! sizew,d/Pixel
                                                            (2)                      sizeTele)2                                       (5)

Maximum optical zoom is reached according to the follow-               Other exposure time ratios may be applied to achieve wide
ing formula:                                                           dynamic range and improved SNR. Fusing two images with
                                                            (3) 30
                                                                       different intensities will result in wide dynamic range image.
                                                                          In more detail with reference to FIG. 3, in the first stage,
For example: for the configuration defined above and assum-            after the user chooses a required zoom factor ZF, the sensor
ing PLTe1e=4000 and PLvideo=l920, zmax=4.35.                           control module configures each sensor as follows:
   In an embodiment, the sensor control module has a setting              1) Cropping Index Wide Sensor:
that depends on the Wide and Tele FOVs and on a sensor
                                                                  35
oversampling ratio, the setting used in the configuration of
each sensor. For example, when using a 4000x3000 sensor                      Y Wide end~½·PC Wide(!+ 1/ZF)
and when outputting a 1920x1080 image, the oversampling
ratio is 4000/1920=2.0833.                                             where PC is the number of pixels in a colunm, and Y is the
   In an embodiment, the Wide and Tele FOVs and the                    row number
                                                                  40      2) Cropping Index Tele Sensor:
oversampling ratio satisfy the condition
                                                                       If ZF>Tan (FOY mde)!Tan (FOY Tele), then
      0.S*PLw,d/PLvueo <Tan(FOV Wide)/Tan(FOV Tele)
          <1.2* PLw,d/PLvideo·                              (4)              Yre1e   s<ar ,~½·PCTeie(l-(1/ZF)·Tan(FOV Tele)/Tan(FO-

                                                                                     V Wide))
Still Mode Operation/Function
    In still camera mode, the obtained image is fused from        45         Yre1e end~½.PCTeie(l+(l!ZF)·Tan(FOV Tele)/Tan(FO-
information obtained by both sub-cameras at all zoom                               V Wide))
levels, see FIG. 2, which shows a Wide sensor 202 and a Tele
                                                                       If ZF<Tan (FOY mde)!Tan (FOY Tele), then
sensor 204 and their respective FOVs. Exemplarily, as
shown, the Tele sensor FOY is half the Wide sensor FOY.
The still camera mode processing includes two stages: (1)         50
setting HW settings and configuration, where a first objec-                  YTele end=PCTele

tive is to control the sensors in such a way that matching             This will result in an exposure start time of the Tele sensor
FOVs in both images (Tele and Wide) are scanned at the                 with a delay of (in numbers of lines, relative to the Wide
same time. A second objective is to control the relative               sensor start time):
exposures according to the lens properties. A third objective     55
                                                                             (1-ZF/((Tan(FOV Wide)/Tan(FOV re1e)))· 1/(2·FPS)         (6)
is to minimize the required bandwidth from both sensors for
the ISPs; and (2) image processing that fuses the Wide and             where FPS is the sensor's frame per second configuration. In
the Tele images to achieve optical zoom, improves SNR and              cases where ZF>Tan (FOY mde)!Tan (FOY Tele), no delay
provides wide dynamic range.                                           will be introduced between Tele and Wide exposure starting
    FIG. 3 shows image line numbers vs. time for an image         60   point. For example, for a case where Tan (FOY mde)!Tan
section captured by CMOS sensors. A fused image is                     (FOY Tele)=2 and ZF= 1, the Tele image first pixel is exposed
obtained by line (row) scans of each image. To prevent                 ¼·(1/FPS) second after the Wide image first pixel was
matching FOVs in both sensors to be scanned at different               exposed.
times, a particular configuration is applied by the camera                After applying the cropping according to the required
controller on both image sensors while keeping the same           65   zoom factor, the sensor rolling shutter time and the vertical
frame rate. The difference in FOY between the sensors                  blank should be configured in order to satisfy the equation
determines the relationship between the rolling shutter time           to keep the same frame rate:

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                                                            (7)        Zoom-In and Zoom-Out in Still Camera Mode
    FIG. 3 exemplifies Eq. (7), One way to satisfy Eq. (7) is              We define the following: TFOV=tan (camera FOV/2).
                                                                       "Low ZF" refers to all ZF that comply with ZF<Wide
to increase the RST Wide· Controlling the RST Wide may be
                                                                       TFOV/Tele TFOV. "High ZF" refers to all ZF that comply
done by changing the horizontal blanking (HB) of the Wide
                                                                  5    with ZF>Wide TFOV/Tele TFOV. "ZFT" refers to a ZF that
sensor. This will cause a delay between the data coming out
                                                                       complies with ZF=Wide TFOV/Tele TFOV. In one embodi-
from each row of the Wide sensor.                                      ment, zoom-in and zoom-out in still mode is performed as
    Generally, working with a dual-sensor system requires              follows:
multiplying the bandwidth to the following block, for                      Zoom-in: at low ZF up to slightly above ZFT, the output
example the ISP. For example, using 12 Mp working at 30           10   image is a digitally zoomed, Wide fusion output. For the
fps, 10 bit per pixel requires working at 3.6 Gbit/sec. In this        up-transfer ZF, the Tele image is shifted and corrected by
example, supporting this bandwidth requires 4 lanes from               global registration (GR) to achieve smooth transition. Then,
each sensor to the respective following ISP in the processing          the output is transformed to a Tele fusion output. For higher
chain. Therefore, working with two sensors requires double             (than the up-transfer) ZF, the output is the Tele fusion output
bandwidth (7.2 Gbit/sec) and 8 lanes connected to the             15   digitally zoomed.
respective following blocks. The bandwidth can be reduced                  Zoom-out: at high ZF down to slightly below ZFT, the
by configuring and synchronizing the two sensors. Conse-               output image is a digitally zoomed, Tele fusion output. For
quently, the number of lanes can be half that of a conven-             the down-transfer ZF, the Wide image is shifted and cor-
tional configuration (3.6 Gbit/sec).                                   rected by GR to achieve smooth transition. Then, the output
    FIG. 4 shows schematically a sensor time configuration        20   is transformed to a Wide fusion output. For lower (than the
that enables sharing one sensor interface using a dual-sensor          down-transfer) ZF, the output is basically the down-transfer
zoom system, while fulfilling the conditions in the descrip-           ZF output digitally zoomed but with gradually smaller Wide
tion of FIG. 3 above. For simplicity, assuming the Tele                shift correction, until for ZF=l the output is the unchanged
sensor image is magnified by a factor of 2 compared with the           Wide camera output.
Wide sensor image, the Wide sensor horizontal blanking            25       In another embodiment, zoom-in and zoom-out in still
time HB Wide is set to twice the Wide sensor line readout time.        mode is performed as follows:
This causes a delay between output Wide lines. This delay                  Zoom-in: at low ZF up to slightly above ZFT, the output
time matches exactly the time needed to output two lines               image is a digitally zoomed, Wide fusion output. For the
from the Tele sensor. After outputting two lines from the              up-transfer ZF and above, the output image is the Tele fusion
Tele sensor, the Tele sensor horizontal blanking time HBreze      30   output.
is set to be one Wide line readout time, so, while the Wide                Zoom-out: at high ZF down to slightly below ZFT, the
sensor outputs a row from the sensor, no data is being output          output image is a digitally zoomed, Tele fusion output. For
from the Tele sensor. For this example, every 3 rd line in the         the down-transfer ZF and below, the output image is the
Tele sensor is delayed by an additional HBreze· In this delay          Wide fusion output.
time, one line from the Wide sensor is output from the            35   Video Mode Operation/Function
dual-sensor system. After the sensor configuration stage, the          Smooth Transition
data is sent in parallel or by using multiplexing into the                 When a dual-aperture camera switches the camera output
processing section.                                                    between sub-cameras or points of view, a user will normally
    FIG. 5 shows an embodiment of a method disclosed                   see a "jump" (discontinuous) image change. However, a
herein for acquiring a zoom image in still mode. In ISP step      40   change in the zoom factor for the same camera and POV is
502, the data of each sensor is transferred to the respective          viewed as a continuous change. A "smooth transition" is a
ISP component, which performs on the data various pro-                 transition between cameras or POVs that minimizes the
cesses such as denoising, demosaicing, sharpening, scaling,            jump effect. This may include matching the position, scale,
etc, as known in the art. After the processing in step 502, all        brightness and color of the output image before and after the
following actions are performed in capture processing core        45   transition. However, an entire image position matching
128: in rectification step 504, both Wide and Tele images are          between the sub-camera outputs is in many cases impos-
aligned to be on the epipolar line; in registration step 506,          sible, because parallax causes the position shift to be depen-
mapping between the Wide and the Tele aligned images is                dent on the object distance. Therefore, in a smooth transition
performed to produce a registration map; in resampling step            as disclosed herein, the position matching is achieved only
508, the Tele image is resampled according to the registra-       50   in the ROI region while scale brightness and color are
tion map, resulting in a re-sampled Tele image; in decision            matched for the entire output image area.
step 510, the re-sampled Tele image and the Wide image are             Zoom-In and Zoom-Out in Video Mode
processed to detect errors in the registration and to provide              In video mode, sensor oversampling is used to enable
a decision output. In more detail, in step 510, the re-sampled         continuous and smooth zoom experience. Processing is
Tele image data is compared with the Wide image data and          55   applied to eliminate the changes in the image during cross-
if the comparison detects significant dissimilarities, an error        over from one sub-camera to the other. Zoom from 1 to
is indicated. In this case, the Wide pixel values are chosen           zswitch is performed using the Wide sensor only. From zswitch
to be used in the output image. Then, in fusion step 512, the          and on, it is performed mainly by the Tele sensor. To prevent
decision output, re-sampled Tele image and the Wide image              "jumps" (roughness in the image), switching to the Tele
are fused into a single zoom image.                               60   image is done using a zoom factor which is a bit higher
    To reduce processing time and power, steps 506,508,510,            (Zswitch+li.Zoom) than zswitch· ti.Zoom is determined accord-
512 could be bypassed by not fusing the images in non-                 ing to the system's properties and is different for cases where
focused areas. In this case, all steps specified above should          zoom-in is applied and cases where zoom-out is applied
be applied on focused areas only. Since the Tele optical               (li.Zoom,n;,li.Zoom u,). This is done to prevent residual
                                                                                          0

system will introduce shallower depth of field than the Wide      65   jumps artifacts to be visible at a certain zoom factor. The
optical system, defocused areas will suffer from lower                 switching between sensors, for an increasing zoom and for
contrast in the Tele system.                                           decreasing zoom, is done on a different zoom factor.

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   The zoom video mode operation includes two stages: (1)               li.Zoom,m both sensors are operational and the zoom image
sensor control and configuration, and (2) image processing.             is generated from the Wide sensor. The color balance is
In the range from 1 to Zswitch, only the Wide sensor is                 calculated for both images according to a given ROI. In
operational, hence, power can be supplied only to this                  addition, for a given ROI, registration is performed between
sensor. Similar conditions hold for a Wide AF mechanism.           5    the Wide and Tele images to output a transformation coef-
From zswitch+li.Zoom to zmax only the Tele sensor is opera-             ficient. The transformation coefficient is used to set an AF
tional, hence, power is supplied only to this sensor. Simi-             position. The transformation coefficient includes the trans-
larly, only the Tele sensor is operational and power is                 lation between matching points in the two images. This
supplied only to it for a Tele AF mechanism. Another option             translation can be measured in a number of pixels. Different
is that the Tele sensor is operational and the Wide sensor is      10   translations will result in a different number of pixel move-
working in low frame rate. From zswitch to zswitch+li.Zoom,             ments between matching points in the images. This move-
both sensors are operational.                                           ment can be translated into depth and the depth can be
   Zoom-in: at low ZF up to slightly above ZFT, the output              translated into an AF position. This enables to set the AF
image is the digitally zoomed, unchanged Wide camera                    position by only analyzing two images (Wide & Tele). The
output. For the up-transfer ZF, the output is a transformed        15   result is fast focusing.
Tele sub-camera output, where the transformation is per-                    Both color balance ratios and transformation coefficient
formed by a global registration (GR) algorithm to achieve               are used in the ISP step. In parallel, the Wide image is
smooth transition. For higher (than the up-transfer), the               processed to provide a processed image, followed by resa-
output is the transfer ZF output digitally zoomed.                      mpling. For ZF range=Zswitch+li.Zoom,n:Zmax and for Zoom
   Zoom-out: at high ZF down to slightly below ZFT, the            20   factor >Zswitchli.Zoom,m the color balance calculated previ-
output image is the digitally zoomed transformed Tele                   ously is now applied on the Tele image. The Tele image data
camera output. For the down-transfer ZF, the output is a                is transferred to the ISP in step 612 and resampled in step
shifted Wide camera output, where the Wide shift correction             614. To eliminate crossover artifacts and to enable smooth
is performed by the GR algorithm to achieve smooth tran-                transition to the Tele image, the processed Tele image is
sition, i.e. with no jump in the ROI region. For lower (than       25   resampled according to the transformation coefficient, the
the down-transfer) ZF, the output is basically the down-                requested ZF (obtained from zoom function 124) and the
transfer ZF output digitally zoomed but with gradually                  output video resolution (for example 1080p ).
smaller Wide shift correction, until for ZF=l the output is                 FIG. 7 shows the effective resolution as a function of the
the unchanged Wide camera output.                                       zoom factor for a zoom-in case and for a zoom-out case
   FIG. 6 shows an embodiment of a method disclosed                30   li.Zoomup is set when we zoom in, and li.Zoomdown is set
herein for acquiring a zoom image in video/preview mode                 when we zoom out. Setting li.Zoomup to be different from
for 3 different zoom factor (ZF) ranges: (a) ZF range=l:                li.Zoomdown will result in transition between the sensors to be
zswitch; (b) ZF range=Zswitch: zswitch +li.Zoom,n: and (C)              performed at different zoom factor ("hysteresis") when
Zoom factor range=Zswitch+li.Zoom,n: zmax· The description              zoom-in is used and when zoom-out is used. This hysteresis
is with reference to a graph of effective resolution vs. zoom      35   phenomenon in the video mode results in smooth continuous
value (FIG. 7). In step 602, sensor control module 116                  zoom experience.
chooses (directs) the sensor (Wide, Tele or both) to be                 Optical Design
operational. Specifically, if the ZF range= 1 :Zswitch, module              Additional optical design considerations were taken into
116 directs the Wide sensor to be operational and the Tele              account to enable reaching optical zoom resolution using
sensor to be non-operational. If the ZF range is Zswitch:          40   small total track length (TTL). These considerations refer to
Zswitch+li.Zoom,m module 116 directs both sensors to be                 the Tele lens. In an embodiment, the camera is "thin" (see
operational and the zoom image is generated from the Wide               also FIG. 1B) in the sense that is has an optical path of less
sensor. If the ZF range is zswitch+li.Zoom,n:Zmax, module 116           than 9 mm and a thickness/focal length (FP) ratio smaller
directs the Wide sensor to be non-operational and the Tele              than about 0.85. Exemplarily, as shown in FIG. 8, such a thin
sensor to be operational. After the sensor choice in step 602,     45   camera has a lens block that includes (along an optical axis
all following actions are performed in video processing core            starting from an object) five lenses: a first lens element 802
126. Optionally, in step 604, color balance is calculated if            with positive power and two lenses 804 and 806 and with
two images are provided by the two sensors. Optionally yet,             negative power, a fourth lens 808 with positive power and a
in step 606, the calculated color balance is applied in one of          fifth lens 810 with negative power. In the embodiment of
the images (depending on the zoom factor). Further option-         50   FIG. 8, the EFL is 7 mm, the TTL is 4.7 mm, f=6.12 and
ally, in step 608, registration is performed between the Wide           FOV=20°. Thus the Tele lens TTL/EFL ratio is smaller than
and Tele images to output a transformation coefficient. The             0.9. In other embodiments, the Tele lens TTL/EFL ratio may
transformation coefficient can be used to set an AF position            be smaller than 1.
in step 610. In step 612, an output of any of steps 602-608                 In another embodiment of a lens block in a thin camera,
is applied on one of the images (depending on the zoom             55   shown in FIG. 9, the camera has a lens block that includes
factor) for image signal processing that may include denois-            (along an optical axis starting from an object) a first lens
ing, demosaicing, sharpening, scaling, etc. In step 614, the            element 902 with positive power a second lens element 904
processed image is resampled according to the transforma-               with negative power, a third lens element with positive
tion coefficient, the requested ZF (obtained from zoom                  power 906 and a fourth lens element with negative power
function 124) and the output video resolution (for example         60   908, and a fifth lens element 910 with positive or negative
1080p ). To avoid a transition point to be executed at the              power. In this embodiment, f=7.14, F#=3.5, TTL=5.8 mm
same ZF, ti.Zoom can change while zooming in and while                  and FOV=22.7°.
zooming out. This will result in hysteresis in the sensor                   In conclusion, dual aperture optical zoom digital cameras
switching point.                                                        and associate methods disclosed herein reduce the amount of
   In more detail, for ZF range 1: zswitch, for ZF <Zswitch, the   65   processing resources, lower frame rate requirements, reduce
Wide image data is transferred to the ISP in step 612 and               power consumption, remove parallax artifacts and provide
resampled in step 614. For ZF range=Zswitch: zswitch+                   continuous focus (or provide loss of focus) when changing

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from Wide to Tele in video mode. They provide a dramatic                  6. The dual-aperture digital camera of claim 5, wherein, if
reduction of the disparity range and avoid false registration           an error is detected, the camera controller is further config-
in capture mode. They reduce image intensity differences                ured to choose Wide pixel values to be used in the output
and enable work with a single sensor bandwidth instead of               image for pixels that caused the error.
two, as in known cameras.                                                  7. The dual-aperture digital camera of claim 6, wherein
   All patent applications mentioned in this specification are          the Wide and Tele image sensors have pixels with identical
herein incorporated in their entirety by reference into the             pixel counts and with respective pixel sizes Pixel sizeWide
specification, to the same extent as if each individual patent          and Pixel sizeTele wherein Pixel sizeWide is equal to Pixel
application was specifically and individually indicated to be           sizeTele' wherein the Wide and Tele lenses have different F
incorporated herein by reference. In addition, citation or         10   numbers F#Wide and F#Tele, and wherein the camera control-
identification of any reference in this application shall not be        ler is further configured to synchronize the Wide and Tele
construed as an admission that such reference is available as           image sensors to start exposure at the same time.
prior art to the present disclosure.                                       8. The dual-aperture digital camera of claim 6, wherein
    While this disclosure has been described in terms of                the Wide and Tele image sensors have pixels with identical
certain embodiments and generally associated methods,              15   pixel counts and with respective pixel sizes Pixel sizeWide
alterations and permutations of the embodiments and meth-               and Pixel sizeTele wherein Pixel size Wide is not equal to Pixel
ods will be apparent to those skilled in the art. The disclosure        sizeTele, wherein the Wide and Tele lenses have different F
is to be understood as not limited by the specific embodi-              numbers F#Wide and F#Tele, and wherein the camera control-
ments described herein, but only by the scope of the                    ler is further configured to synchronize the Wide and Tele
appended claims.                                                   20   image sensors to start exposure at the same time.
    What is claimed is:                                                    9. The dual-aperture digital camera of claim 6, wherein
    1. A dual-aperture digital camera for imaging an object or          the Wide and Tele image sensors have pixels with respective
scene, comprising:                                                      pixel sizes Pixel size Wide and Pixel sizeTele and wherein Pixel
    a) a Wide camera comprising a Wide lens and a Wide                  sizeWide is not equal to Pixel sizeTele, wherein the Wide and
       image sensor, the Wide camera having a respective           25   Tele lenses have different F numbers F#Wide and F#Tele, and
       field of view FOY w and being operative to provide a             wherein the camera controller is further configured to syn-
       Wide image of the object or scene;                               chronize the Wide and Tele image sensors to start exposure
   b) a Tele camera comprising a Tele lens and a Tele image             at the same time.
       sensor, the Tele camera having a respective field of                10. The dual-aperture digital camera of claim 1, wherein
       view FOY T narrower than FOY w and being operative          30   the Wide and Tele image sensors have pixels with identical
       to provide a Tele image of the object or scene, wherein          pixel counts.
       the Tele lens has a respective effective focal length               11. The dual-aperture digital camera of claim 10, wherein
       EFLT and total track length TTLT fulfilling the condi-           the pixel count is 12 MP.
       tion EFLJTTLz> 1;                                                   12. The dual-aperture digital camera of claim 1, wherein
    c) a first autofocus (AF) mechanism coupled mechani-           35   the Wide and Tele image sensors have pixels with respective
       cally to, and used to perform an AF action on the Wide           pixel sizes Pixel size Wide and Pixel sizeTele and wherein Pixel
       lens;                                                            sizeWide is equal to Pixel sizeTele·
    d) a second AF mechanism coupled mechanically to, and                  13. The dual-aperture digital camera of claim 1, wherein
       used to perform an AF action on the Tele lens; and               the Wide and Tele image sensors have pixels with respective
    e) a camera controller operatively coupled to the first and    40   pixel sizes Pixel size Wide and Pixel sizeTele and wherein Pixel
       second AF mechanisms and to the Wide and Tele image              sizeWide is not equal to Pixel sizeTele·
       sensors and configured to control the AF mechanisms                 14. The dual-aperture digital camera of claim 1, wherein
       and to process the Wide and Tele images to create a              the Wide and Tele lenses have different F numbers F#Wide
       fused image, wherein areas in the Tele image that are            and F#Tele·
       not focused are not combined with the Wide image to         45      15. The dual-aperture digital camera of claim 14, wherein
       create the fused image and wherein the camera con-               the camera controller is further configured to synchronize
       troller is further operative to output the fused image           scanning of the Wide and Tele image sensors such that
       with a point of view (POV) of the Wide camera by                 matching FOVs in the Wide and Tele images are scanned at
       mapping Tele image pixels to matching pixels within              the same time.
       the Wide image.                                             50      16. The dual-aperture digital camera of claim 14, wherein
    2. The dual-aperture digital camera of claim 1, wherein             the camera controller is further configured to synchronize
the camera controller is further configured to perform rec-             the Wide and Tele image sensors to start exposure at the
tification of the Wide and Tele images by aligning these                same time.
images to be on an approximately epipolar line to obtain                   17. The dual-aperture digital camera of claim 1, wherein
rectified Wide and Tele images.                                    55   the Wide and Tele lenses have respective F numbers F#Wide
    3. The dual-aperture digital camera of claim 2, wherein             and F#Tele and wherein the camera controller is further
the camera controller is further configured to perform map-             configured to set respective Wide and Tele image sensor
ping between the rectified Wide and Tele images to produce              exposure times ET Wide and ET Tele to fulfill the condition
a registration map.                                                     ET Tele =ET Widex(F#TeiefF#Wide)2x(Pixel           sizew,d)Pixel
    4. The dual-aperture digital camera of claim 3, wherein        60   sizereze)2.
the camera controller is further configured to perform resa-               18. The dual-aperture digital camera of claim 1, wherein
mpling of the Tele image according to the registration map              the Wide and Tele lenses have respective F numbers F#Wide
to provide a re-sampled Tele image.                                     and F#Tele and wherein the camera controller is further
    5. The dual-aperture digital camera of claim 4, wherein             configured to set respective Wide and Tele image sensor
the camera controller is further configured to process the         65   exposure times ET Wide and ET Tele to be equal.
re-sampled Tele image and the Wide image to detect an error                19. A dual-aperture digital camera for imaging an object
in the registration and to provide a decision output.                   or scene, comprising:

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   a) a Wide camera comprising a Wide lens and a Wide                    24. The method of claim 23, further comprising rectifying
      image sensor, the Wide camera having a respective                the Wide and Tele images by aligning these images to be on
      field of view FOY w and being operative to provide a             an approximately epipolar line to obtain rectified Wide and
      Wide image of the object or scene;                               Tele images.
   b) a Tele camera comprising a Tele lens and a Tele image       5       25. The method of claim 24, further comprising mapping
      sensor, the Tele camera having a respective field of             between the rectified Wide and Tele images to produce a
      view FOY T narrower than FOY w and being operative               registration map.
      to provide a Tele image of the object or scene, wherein             26. The method of claim 25, further comprising resam-
      the Tele lens has a respective effective focal length            pling the Tele image according to the registration map to
                                                                  10   provide a re-sampled Tele image.
      EFLT and total track length TTLT fulfilling the condi-
                                                                          27. The method of claim 26, further comprising process-
      tion EFLJTTLz> 1;
                                                                       ing the re-sampled Tele image and the Wide image to detect
   c) a first autofocus (AF) mechanism coupled mechani-
                                                                       an error in the registration and to provide a decision output.
      cally to, and used to perform an AF action on the Wide              28. The method of claim 27, wherein if an error is
      lens;                                                       15   detected, further comprising choosing Wide pixel values to
   d) a second AF mechanism coupled mechanically to, and               be used in the output image for those pixels that caused the
      used to perform an AF action on the Tele lens, wherein           error.
      the Wide and Tele lenses have different F numbers                   29. The method of claim 28, wherein the Wide and Tele
      F#Wide and F#Tele, wherein the Wide and Tele image               image sensors have pixels with identical pixel counts and
      sensors have pixels with respective pixel sizes Pixel       20   with respective pixel sizes Pixel sizeWide and Pixel sizeTele
      sizeWide and Pixel sizeTele wherein Pixel sizeWide is not        wherein Pixel sizeWide is equal to Pixel sizeTele and wherein
      equal to Pixel sizeTele, and wherein the Tele camera has         the Wide and Tele lenses have different F numbers F#Wide
      a Tele camera depth of field (DOF T) shallower than a            and F#Tele' the method further comprising synchronizing the
      DOF of the Wide camera (DOF w); and                              Wide and Tele image sensors to start exposure at the same
   e) a camera controller operatively coupled to the first and    25   time.
      second AF mechanisms and to the Wide and Tele image                 30. The method of claim 28, wherein the Wide and Tele
      sensors and configured to control the AF mechanisms,             image sensors have pixels with identical pixel counts and
      to process the Wide and Tele images to find translations         with respective pixel sizes Pixel sizeWide and Pixel sizeTele
      between matching points in the images to calculate               wherein Pixel sizeWide is not equal to Pixel sizeTele and
      depth information and to create a fused image suited for    30   wherein the Wide and Tele lenses have different F numbers
                                                                       F#Wide and F#Tele, the method further comprising synchro-
      portrait photos, the fused image having a DOF shal-
                                                                       nizing the Wide and Tele image sensors to start exposure at
      lower than DOFT and having a blurred background.
                                                                       the same time.
   20. The dual-aperture digital camera of claim 19, wherein
                                                                          31. The method of claim 28, wherein the Wide and Tele
the Tele lens includes five lens elements along an optical        35   image sensors have pixels with respective pixel sizes Pixel
axis from an object side to an image side, starting from the           sizeWide and Pixel sizeTele wherein Pixel sizeWide is not equal
object side with a first lens element with positive power, a           to Pixel sizeTele and wherein the Wide and Tele lenses have
second lens element with negative power, a fourth lens                 different F numbers F#Wide and F#Tele, the method further
element with negative power and a fifth lens element,                  comprising synchronizing the Wide and Tele image sensors
wherein the largest distance between consecutive lens ele-        40   to start exposure at the same time.
ments along the optical axis is a distance between the fourth             32. The method of claim 23, wherein the Wide and Tele
lens element and the fifth lens element.                               image sensors have pixels with identical pixel counts.
   21. The dual-aperture digital camera of claim 20, wherein              33. The method of claim 32, wherein the pixel count is 12
the fused image having a DOF shallower than DOF T is                   MP.
output as a portrait photo similar to a portrait photo taken      45      34. The method of claim 23, wherein the Wide and Tele
with a digital single-lens reflex (DSLR) camera.                       image sensors have pixels with respective pixel sizes Pixel
   22. The dual-aperture digital camera of claim 21, wherein           sizeWide and Pixel sizeTele and wherein Pixel size Wide is equal
the DSLR has a focal length between 50-80 mm.                          to Pixel sizeTele·
   23. A method comprising:                                               35. The method of claim 23, wherein the Wide and Tele
   a) providing a dual-camera comprising a Wide camera            50   image sensors have pixels with respective pixel sizes Pixel
      and a Tele camera, the Wide and Tele cameras having              sizeWide and Pixel sizeTele and wherein Pixel sizeWide is not
      respective Wide and Tele lenses, Wide and Tele image             equal to Pixel sizeTele·
                                                                          36. The method of claim 23, wherein the Wide and Tele
      sensors and Wide and Tele fields of view FOY w and
                                                                       lenses have different F numbers F#Wide and F#Tele·
      FOY r, wherein FOY Tis narrower than FOY w, wherein
                                                                  55      37. The method of claim 36, further comprising synchro-
      the Tele lens has a respective effective focal length            nizing scanning of the Wide and Tele image sensors such
      EFLT and total track length TTLT fulfilling the condi-           that matching FOVs in the Wide and Tele images are
      tion EFLJTTLz> 1;                                                scanned at the same time.
   b) acquiring a Wide image with the Wide sensor and a                   38. The method of claim 36, further comprising synchro-
      Tele image with the Tele sensor;                            60   nizing the Wide and Tele image sensors to start exposure at
   c) processing the Wide and Tele images to create a fused            the same time.
      image, wherein areas in the Tele image that are not                 39. The method of claim 23, wherein the Wide and Tele
      focused are not combined with the Wide image to                  lenses have respective F numbers F#Wide and F#Tele' the
      create the fused image; and                                      method further comprising setting respective Wide and Tele
   d) outputting the fused image with a point of view (POV)       65   image sensor exposure times ET Wide and ET Tele to fulfill the
      of the Wide camera by mapping Tele image pixels to               condition ET Tele =ET Widex(F#TeiefF#Wide)2x(Pixel sizew,d)
      matching pixels within the Wide image.                           Pixel sizeTe1e)2.

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  40. The method of claim 23, wherein the Wide and Tele
lenses have respective F numbers F#Wide and F#reze, the
method further comprising setting respective Wide and Tele
image sensor exposure times ET Wide and ET Tele to be equal.

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                    CERTIFICATE OF COMPLIANCE

        The brief complies with the type-volume limitation of Fed. Cir. R.

32(b)(1) because this brief contains 13,920 words, excluding the parts of

the brief exempted by Fed. R. App. P. 32(f) and Fed. Cir. R. 32(b)(2).

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